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                                                                   10   classes
                                                                   11                      UNITED STATES DISTRICT COURT
                                                                                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
NYE, STIRLING, HALE, MILLER & SWEET




                                                                   12
                                                                        MICHAEL DUBROSKY, individually
                               SANTA BARBARA, CALIFORNIA 93101




                                                                                                                     Case No.: 2:24-cv-09153
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                                                                   13   and on behalf of others similarly
                                                                   14   situated,

                                                                   15                    Plaintiff,                  CLASS ACTION COMPLAINT
                                                                   16   vs.

                                                                   17   AMERICAN HONDA MOTOR CO.,                    DEMAND FOR JURY TRIAL
                                                                        INC. and HONDA MOTOR
                                                                   18   COMPANY, LTD.,

                                                                   19                Defendants.

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                                                                   21
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                                                                   23         Plaintiff Michael Dubrosky brings this action against Defendants American
                                                                   24   Honda Motor Co., Inc. and Honda Motor Company, LTD. (“Honda” or “Defendants”).
                                                                   25   Plaintiff alleges the following based on personal knowledge as to his own facts and
                                                                   26   upon information and belief and the investigation of counsel as to all other matters.
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                                                                                                      CLASS ACTION COMPLAINT
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                                                                    1                                        INTRODUCTION
                                                                    2          1.     This is a class action lawsuit brought by Plaintiff on behalf of himself and
                                                                    3   a class of current and former Honda vehicle owners and lessees of model years (“MY”)
                                                                    4   2018-2021 Honda Odyssey vehicles (the “Class Vehicles” or “Vehicles”). 1
                                                                    5          2.     This action arises from Honda’s failure, despite its longstanding
                                                                    6   knowledge of this material and manufacturing defect, to disclose to Plaintiff and other
                                                                    7   consumers that the Class Vehicles suffer from a defective body seam seal that cracks,
                                                                    8   fails and thereby allows water to infiltrate the rear driver’s side panel of the Class
                                                                    9   Vehicles. The body seam seal, inter alia, protects the control module for the power
                                                                   10   tailgate (i.e. a motorized trunk) from outside elements including water. Thus, when the
                                                                   11   body seam seal fails, water infiltrates through the defective seal, allowing water to come
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                                                                   12   into contact with the control unit and causes the power tailgate to malfunction and/or
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                                                                   13   fail (the “Sealant Defect” or “Defect”).
                                                                   14          3.     Significantly, a malfunctioning power tailgate opens and closes at random,
                                                                   15   including when the Class Vehicles are being driven, presenting a serious safety concern.
                                                                   16   In addition, the power tailgate can fail to either open or close, preventing the owners of
                                                                   17   the Class Vehicles with access to the trunk and, in the case of a power tailgate failing
                                                                   18   to close, preventing the Class Vehicles from being safely operated and stranding the
                                                                   19   owners. As described below, the malfunctioning tailgate can also lead to short circuits
                                                                   20   and fires, as well as mold growth.
                                                                   21          4.     Not only did Honda actively conceal the fact that the Class Vehicles’ seals
                                                                   22   were defective (and require costly repairs to fix), it did not reveal that the existence of
                                                                   23   this defect would diminish the intrinsic and resale value of the Class Vehicles.
                                                                   24          5.     Honda has long been aware of the Sealant Defect. Despite its longstanding
                                                                   25   knowledge of this defect, Honda has failed to adequately repair the Class Vehicles when
                                                                   26   the defect manifests.
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                                                                         Plaintiff reserves the right to amend or add to the vehicle models included in the definition
                                                                   28
                                                                        of Class Vehicles after conducting discovery.
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                                                                    1         6.     Many owners and lessees of Class Vehicles have communicated with
                                                                    2   Defendants and their agents to request that Honda remedy and/or address the Sealant
                                                                    3   Defect and resultant damage at no expense. Defendants have failed and/or refused to do
                                                                    4   so – often conveying to Class Vehicle owners and lessees that Class Vehicles are
                                                                    5   operating as intended and therefore cannot be repaired under warranty or otherwise.
                                                                    6         7.     For customers whose Vehicles are within the New Vehicle Limited
                                                                    7   Warranty period (which extends for the shorter of three years or 36,000 miles), Honda
                                                                    8   has done nothing to address or correct the Sealant Defect when it manifests in the Class
                                                                    9   Vehicles.
                                                                   10         8.     Despite notice and knowledge of the Sealant Defect from the numerous
                                                                   11   consumer complaints it has received, information received from Honda dealerships,
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                                                                   12   pre-sale durability testing, National Highway Traffic Safety Administration
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                                                                   13   (“NHTSA”) complaints, and its own internal records, Honda has not recalled the Class
                                                                   14   Vehicles to repair the Sealant Defect, offered its customers a suitable repair or
                                                                   15   replacement free of charge, or offered to reimburse its customers who have incurred
                                                                   16   out-of-pocket expenses to repair the Sealant Defect.
                                                                   17         9.     As a result of Honda’s unfair, deceptive and/or fraudulent business
                                                                   18   practices, owners and/or lessees of Class Vehicles, including Plaintiff, have suffered an
                                                                   19   ascertainable loss of money and/or property and/or loss in value. The unfair and
                                                                   20   deceptive trade practices committed by Honda were conducted in a manner giving rise
                                                                   21   to substantial aggravating circumstances.
                                                                   22         10.    Had Plaintiff and other Class members known about the Sealant Defect at
                                                                   23   the time of purchase or lease, they would not have purchased or leased the Class
                                                                   24   Vehicles, or would have paid substantially less for the Class Vehicles.
                                                                   25         11.    As a result of the Sealant Defect and the considerable monetary costs
                                                                   26   associated with attempting to repair such defect, Plaintiff and other Class members have
                                                                   27   suffered injury in fact, incurred damages and have otherwise been harmed by Honda’s
                                                                   28   conduct.

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                                                                    1         12.     Accordingly, Plaintiff brings this action to redress Honda’s violations of
                                                                    2   the Florida Deceptive and Unfair Trade Practices Act and also to seek recovery for
                                                                    3   Honda’s breach of express warranty, breach of implied warranty, common law fraud,
                                                                    4   breach of the covenant of good faith and fair dealing and, alternatively, unjust
                                                                    5   enrichment.
                                                                    6                                JURISDICTION AND VENUE
                                                                    7         13.     This Court has subject matter jurisdiction over this action pursuant to 28
                                                                    8   U.S.C. §1332 of the Class Action Fairness Act of 2005 because: (i) there are 100 or
                                                                    9   more class members, (ii) there is an aggregate amount in controversy exceeding
                                                                   10   $5,000,000, exclusive of interest and costs, and (iii) there is minimal diversity because
                                                                   11   at least one plaintiff and one defendant are citizens of different states. This Court has
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                                                                   12   supplemental jurisdiction over the state law claims pursuant to 28 U.S.C. § 1367.
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                                                                   13         14.     Venue is proper in this judicial district pursuant to 28 U.S.C. §1391
                                                                   14   because Honda is headquartered in this district, transacts business in this district, is
                                                                   15   subject to personal jurisdiction in this district, and therefore is deemed to be a citizen of
                                                                   16   this district. Additionally, Honda has advertised in this district and has received
                                                                   17   substantial revenue and profits from its sales and/or leases of Class Vehicles in this
                                                                   18   district; therefore, a substantial part of the events and/or omissions giving rise to the
                                                                   19   claims occurred, in part, within this district.
                                                                   20         15.     This Court has personal jurisdiction over Honda because it has conducted
                                                                   21   substantial business in this judicial district, is headquartered in this district, and
                                                                   22   intentionally and purposefully placed Class Vehicles into the stream of commerce
                                                                   23   within the districts of California and throughout the United States.
                                                                   24                                         THE PARTIES
                                                                   25   Plaintiff Michael Dubrosky
                                                                   26         16.     Plaintiff Michael Dubrosky is a citizen of the State of Florida and currently
                                                                   27   resides in North Fort Myers, Florida.
                                                                   28   ///

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                                                                    1         17.    In or around September 2019, Plaintiff leased a model year 2019 Honda
                                                                    2   Odyssey from Honda of Fort Myers, an authorized Honda dealership located in Fort
                                                                    3   Myers, Florida. In June of 2022, Plaintiff purchased the 2019 Odyssey from Honda of
                                                                    4   Fort Myers after the lease term expired.
                                                                    5         18.    Plaintiff Dubrosky purchased (and still owns) this vehicle, which is used
                                                                    6   for personal, family and/or household uses. His vehicle bears Vehicle Identification
                                                                    7   Number 5FNRL6H78KB119793.
                                                                    8         19.    Prior to purchasing his Class Vehicle, Plaintiff Dubrosky extensively
                                                                    9   discussed the features of the vehicle with Honda’s sales representatives at Honda of
                                                                   10   Fort Myers and also reviewed the vehicle’s window sticker. When purchasing his Class
                                                                   11   Vehicle, Plaintiff traded in his 2016 Honda Odyssey as part of the lease, and Plaintiff
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                                                                   12   had a positive experience with that vehicle. Plaintiff discussed the new features and
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                                                                   13   upgrades to the Class Vehicle when compared to his 2016 Honda Odyssey. When
                                                                   14   Plaintiff purchased the Class Vehicle at the end of the lease period, Plaintiff was
                                                                   15   required to pay $150 for a safety inspection, which the dealership stated was mandated
                                                                   16   by Defendant American Honda Motor Co. None of these sources disclosed the Defect
                                                                   17   to Plaintiff Dubrosky.
                                                                   18         20.    On or about September 2023, when his Odyssey had approximately 19,000
                                                                   19   miles on the odometer, the power tailgate started to malfunction. Initially, the tailgate
                                                                   20   would not open, and Plaintiff had to climb through the car into the trunk in order to
                                                                   21   open it. The dashboard of the Class Vehicle displayed an error code related to the power
                                                                   22   tailgate, and a beeping noise was emanating from the tailgate. Plaintiff observed that
                                                                   23   the tailgate would not shut all the way. Plaintiff was forced to call AAA on two
                                                                   24   occasions because the tailgate ran the battery down and left Plaintiff stranded. After the
                                                                   25   second occasion, Plaintiff purchased a jump starter, which he used on two additional
                                                                   26   occasions after the tailgate ran the battery down. In addition, on one occasion, Plaintiff
                                                                   27   was driving his Class Vehicle at approximately 55 miles per hour on the highway when
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                                                                    1   the tailgate suddenly flew open, scaring Plaintiff. Plaintiff immediately pulled over to
                                                                    2   the side of the road as fast as possible.
                                                                    3         21.    In approximately September of 2023, Plaintiff brought his Class Vehicle
                                                                    4   to Honda of Fort Myers and requested warranty repairs. Employees at Honda of Fort
                                                                    5   Myers informed Plaintiff that the tailgate control module failed and that the necessary
                                                                    6   repairs would not be covered under warranty. Honda of Fort Myers quoted Plaintiff
                                                                    7   $330 for the replacement part and $800 labor, for a total cost $1,330.
                                                                    8         22.    Due to the cost, Plaintiff declined to have Honda of Fort Myers perform
                                                                    9   the repair, and instead purchased the part himself at a cost of approximately $220 and
                                                                   10   paid a local mechanic’s shop to install it for approximately $175.
                                                                   11         23.    On or about July 10, 2024, when his Odyssey had approximately 20,573
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                                                                   12   miles on the odometer, the tailgate began to malfunction again. The tailgate would beep
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                                                                   13   incessantly while Plaintiff was operating the Class Vehicle, and also displayed a
                                                                   14   warning on the dashboard. Plaintiff was again driving at highway speeds when the
                                                                   15   tailgate suddenly popped open, scaring Plaintiff.
                                                                   16         24.    Because Honda of Fort Myers previously informed Plaintiff that the
                                                                   17   necessary repairs would not be covered under warranty, Plaintiff again purchased the
                                                                   18   tailgate control module himself and paid a local mechanic’s shop to install it for the
                                                                   19   same price as the first replacement.
                                                                   20         25.    On or about July 26, 2024, when his Odyssey had approximately 21,351
                                                                   21   miles on the odometer, the tailgate control module failed yet again. Because Honda of
                                                                   22   Fort Myers previously informed Plaintiff that the necessary repairs would not be
                                                                   23   covered under warranty, Plaintiff again purchased the tailgate control module himself
                                                                   24   and paid a local mechanic’s shop to install it for the same price as the previous
                                                                   25   replacements. After installation, Plaintiff purchased sealant and sealed the defective
                                                                   26   area of the seam.
                                                                   27         26.    Plaintiff Dubrosky took pictures of the Sealant Defect, which are included
                                                                   28   below:

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                                                                    1          27.    Plaintiff Dubrosky has suffered an ascertainable loss as a result of
                                                                    2   Defendants’ omissions and/or misrepresentations associated with the Sealant Defect,
                                                                    3   including, but not limited to, out of pocket loss associated with the Sealant Defect and
                                                                    4   future attempted repairs and diminished value of his vehicle.
                                                                    5          28.    Neither Defendants, nor their agents, agents, dealers or other
                                                                    6   representatives informed Plaintiff of the existence of the Sealant Defect either prior to
                                                                    7   leasing the Class Vehicle or purchasing the Class Vehicle at the expiration of the lease.
                                                                    8   Had Defendants disclosed the Sealant Defect prior to Plaintiff’s lease or purchase,
                                                                    9   Plaintiff would not have leased or purchased the vehicle, or would have paid
                                                                   10   substantially less for it.
                                                                   11   Defendants
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                                                                   12          29.    Defendants American Honda and Honda Motor Company are automobile
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                                                                   13   design, manufacturing, distribution, and/or servicing corporations doing business
                                                                   14   within the United States. Furthermore, Defendants design, manufacture, distribute,
                                                                   15   market, service, repair, sell and lease passenger vehicles, including the Class Vehicles.
                                                                   16          30.    Defendant Honda Motor Company, Ltd., 2-1-1, Minami-Aoyama, Minato-
                                                                   17   ku, Tokyo 107-8556, Japan is an automobile design, manufacturing, sale, leasing,
                                                                   18   distribution, and servicing corporation organized under the laws of Japan. Honda Motor
                                                                   19   Company is the parent corporation of American Honda.
                                                                   20          31.    American Honda has its principal place of business at 1919 Torrance
                                                                   21   Boulevard, Torrance, California 90501-2746.
                                                                   22          32.    Upon information and belief, Defendant Honda Motor Company
                                                                   23   communicates with Defendant American Honda concerning virtually all aspects of the
                                                                   24   Honda products it distributes within the United States.
                                                                   25          33.    Upon information and belief, the design, manufacture, distribution,
                                                                   26   service, repair, modification, installation and decisions regarding the body seam seals
                                                                   27   within the Class Vehicles were performed exclusively by Defendants.
                                                                   28   ///

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                                                                                                     CLASS ACTION COMPLAINT
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                                                                    1         34.    Upon information and belief, the design, manufacture, distribution,
                                                                    2   service, repair, modification, installation and decisions regarding the body seam seals
                                                                    3   within the Class Vehicles were performed exclusively by Honda.
                                                                    4         35.    Upon information and belief, Honda develops the owner’s manuals,
                                                                    5   warranty booklets and information included in maintenance recommendations and/or
                                                                    6   schedules for the Class Vehicles.
                                                                    7         36.    Defendants American Honda and Honda Motor Company engage in
                                                                    8   continuous and substantial business in California.
                                                                    9                      TOLLING OF STATUTES OF LIMITATION
                                                                   10         37.    Any applicable statute(s) of limitations has been tolled by Honda’s
                                                                   11   knowing and active concealment and denial of the facts alleged herein. Plaintiff and
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                                                                   12   members of the Class could not have reasonably discovered the true, latent defective
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                                                                   13   nature of the Sealant Defect until shortly before this class action litigation was
                                                                   14   commenced.
                                                                   15         38.    Honda was and remains under a continuing duty to disclose to Plaintiff and
                                                                   16   members of the Class the true character, quality and nature of the Class Vehicles and
                                                                   17   that they will require costly repairs and diminishes the resale value of the Class
                                                                   18   Vehicles. As a result of the active concealment by Honda, any and all applicable statutes
                                                                   19   of limitations otherwise applicable to the allegations herein have been tolled.
                                                                   20                                FACTUAL ALLEGATIONS
                                                                   21   A.    The Sealant Defect within the Class Vehicles.
                                                                   22         39.    The Class Vehicles, like many modern automobiles, features a unibody
                                                                   23   construction, which serves as the structural foundation of the vehicle. Unlike a body-
                                                                   24   on-frame construction where the body sits atop the frame, in a unibody construction the
                                                                   25   body and frame are considered one unit, and typically incorporate the body, floorboards,
                                                                   26   and structural elements in one large structure. An exemplar image of a unibody
                                                                   27   construction is included below:
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                                                                   13         40.    During assembly, various panels and components are affixed to the frame,
                                                                   14   such as the body panels, through mounting points within the frame.
                                                                   15         41.    A body seam is the joint or connection point within which body panels or
                                                                   16   components meet. Examples of seams throughout modern automobiles are where the
                                                                   17   doors meet the body of the car and where the roof connects to the side panels.
                                                                   18         42.    In order to fill in any gaps between the body frame and the various panels
                                                                   19   affixed to the frame, a sealant is applied. The sealant is applied to prevent water, dust,
                                                                   20   air, or other substances or particulates from entering the interior of the vehicle while it
                                                                   21   is being operated.
                                                                   22         43.    Most modern automobiles, including the Class Vehicles, utilize a
                                                                   23   polyurethane sealant. Polyurethane refers to a polymer that combines polyols (alcohols
                                                                   24   with multiple hydroxyl groups) with isocyanates to form a polymer. Polyurethane seals
                                                                   25   are often used in automotive applications because, in addition to preventing water
                                                                   26   infiltration, they also absorb vibrations and reduce noise on the interior of the vehicle.
                                                                   27   Polyurethane is also flexible, which allows for slight movements between the panels
                                                                   28   without compromising the seal.
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                                                                    1         44.    The polyurethane seals on the Class Vehicles, however, suffer from one or
                                                                    2   more manufacturing and/or design defects that cause them to crack and fail and allow
                                                                    3   water to infiltrate the interior of the Class Vehicles.
                                                                    4         45.    Specifically, the polyurethane seals on the Class Vehicles fail due to a
                                                                    5   combination of manufacturing variability and inadequate surface preparation.
                                                                    6         46.    Manufacturing variability refers to inconsistencies in the application of the
                                                                    7   seal during the manufacturing process. Specifically, the seals are improperly cured.
                                                                    8   Curing is the process by which a sealant hardens and develops its final properties after
                                                                    9   application, and involves the chemical reaction between the components of the sealant.
                                                                   10   In the case of polyurethane sealing, it is the reaction between the polyols and
                                                                   11   isocyanates, which creates urethane linkages. Moisture-curing is often used, which
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                                                                   12   exposes the seal to humidity to complete the curing process. As the seal cures, it is
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                                                                   13   converted from a viscous liquid into a flexible, durable solid.
                                                                   14         47.    Properly curing a polyurethane seal is imperative to ensure that it performs
                                                                   15   effectively and does not prematurely fail.
                                                                   16         48.    The Class Vehicles’ body seam seals are defective because they are
                                                                   17   improperly cured. Improper curing is a manufacturing defect whereby the curing
                                                                   18   process yields weak spots that are subject to premature failure.
                                                                   19         49.    The Class Vehicles’ body seam seals are also defective due to inadequate
                                                                   20   surface preparation due to debris remaining on the seam through the manufacturing
                                                                   21   process. In order to form a seal, the body seam must be sufficiently clean and prepped
                                                                   22   before sealing. If debris remains from the manufacturing process, it will prevent the
                                                                   23   sealant from properly adhering to the body, causing the sealant to peel, lift, and/or crack.
                                                                   24         50.    Together, the improper curing of the sealant and the inadequate surface
                                                                   25   preparation cause the polyurethane body seam seals to crack and fail under normal and
                                                                   26   foreseeable use. When the Defect manifests, it allows water to infiltrate the body seam
                                                                   27   and into the interior of the vehicle.
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                                                                    1         51.    In addition, due to the unibody construction, there is significant flexing in
                                                                    2   the area where the body seam seal is subject to premature failure, which the seal is
                                                                    3   unable to compensate for.
                                                                    4         52.    The seal most commonly fails at the top of the body seam on the driver’s
                                                                    5   side near the back passenger window. Importantly, the tailgate control module also sits
                                                                    6   within the interior of the rear trunk panel, which is in close proximity to the failed seam
                                                                    7   seal. Once water infiltrates the body seam, it progresses through the panel of the vehicle
                                                                    8   until it reaches the tailgate control module.
                                                                    9         53.    The tailgate control module is an electronic component that is responsible
                                                                   10   for the operation of the tailgate, which includes opening it, closing it, and locking it.
                                                                   11   The module communicates with the Class Vehicles’ other electrical components and
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                                                                   12   sensors that detect whether it is open or closed, or whether obstructions are detected
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                                                                   13   that would prevent the safe operation of the power tailgate.
                                                                   14         54.    When water comes into contact with the tailgate control module, it causes
                                                                   15   the module to malfunction in a variety of ways. First, water exposure can cause short
                                                                   16   circuits within the electrical components, leading to malfunctioning of the tailgate
                                                                   17   control (e.g., a short circuit can cause the tailgate to improperly open or close without
                                                                   18   any input from the operator of the Class Vehicle). Second, water exposure can cause
                                                                   19   corrosion, which degrades the performance of the module over time, and eventually will
                                                                   20   cause the total failure of the module, meaning the power liftgate will be rendered
                                                                   21   entirely inoperable.
                                                                   22         55.    Once the Sealant Defect manifests, authorized Honda dealerships
                                                                   23   recommend the replacement of the tailgate control module. Because this does not
                                                                   24   remedy the root cause of the Sealant Defect, it is only a matter of time until the
                                                                   25   replacement tailgate control module comes into contact with water that infiltrates
                                                                   26   through the defective sealant and also experiences short circuits and corrosion,
                                                                   27   ultimately failing again shortly after replacement, as they did for Plaintiff Dubrosky.
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                                                                    1   B.     Safety Issues Caused by the Sealant Defect
                                                                    2          56.    The Sealant Defect and malfunctioning tailgate control module pose a
                                                                    3   number of serious, safety-related issues for operators of the Class Vehicles and those
                                                                    4   that share the road with them.
                                                                    5          57.    A short circuit can cause an electrical fire. 2 Once the fire starts in the
                                                                    6   control module, it can easily spread the rest of the vehicle. Consumers have voiced their
                                                                    7   concern of electrical fires in their complaints to NHTSA, which are reproduced below.
                                                                    8   See NHTSA IDs 11527986 & 11501226.
                                                                    9          58.    Water infiltration can also cause mold to grow. Because the Sealant Defect
                                                                   10   allows water to infiltrate the top of the body seam and it flows down the driver’s side
                                                                   11   body, and because the interior of the body is not exposed to the sun or other mechanisms
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                                                                   12   that would allow the water to dry, mold growth is not only possible, but probable. The
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                                                                   13   mold growth in the Class Vehicles caused by the Sealant Defect is particularly insidious
                                                                   14   because it is not visible to the driver or occupants of the Class Vehicles. Consumers
                                                                   15   have likewise complained about mold growth to NHTSA. See NHTSA IDs 11608694,
                                                                   16   11597496, & 11323163.
                                                                   17          59.    The short circuits and corrosion of the tailgate control module can also
                                                                   18   cause the battery to drain. Specifically, short circuits can cause excessive current draw,
                                                                   19   causing the battery to drain quickly even when the Class Vehicle is off because the
                                                                   20   tailgate control module stays energized, causing continuous power drain. Corrosion can
                                                                   21   also lead to poor electrical connections, causing the tailgate control module to draw
                                                                   22   more power than necessary, which also causes to battery drain. Once the battery is
                                                                   23   drained, the occupants of the Class Vehicles are left stranded until the battery can be
                                                                   24   recharged. Consumers have complained about this to NHTSA too. See NHTSA IDs
                                                                   25   11563377, 11475412 & 11473935.
                                                                   26
                                                                   27   2
                                                                         https://rytecelectric.com/blog/what-is-an-electrical-short-circuit/;
                                                                        https://earlybirdelectricians.com/blog/the-dangers-of-wet-electrical-wiring/ (both last visited
                                                                   28
                                                                        October 24, 2024).
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                                                                    1            60.    The Sealant Defect also causes the tailgate control module to malfunction
                                                                    2   and abruptly open or close the power tailgate. Consumers have reported the power
                                                                    3   tailgate suddenly opening while driving, which happened to Plaintiff while he was
                                                                    4   driving 55 miles per hour on the highway. Other owners have reported that the tailgate
                                                                    5   abruptly closed while they were loading or unloading the trunk, causing them to be
                                                                    6   physically struck by the tailgate. See NHTSA IDs 11526594 and 11537560.
                                                                    7            61.    The Sealant Defect can also cause the body to rust from the inside. Rust
                                                                    8   compromises the structural integrity of the frame and makes it more susceptible to
                                                                    9   bending or breaking when placed under stress. In addition, rust can quickly spread to
                                                                   10   adjacent areas. Consumers have observed and reported rust caused by the Sealant Defect
                                                                   11   directly to NHTSA. See NHTSA IDs 11593412 & 11531122.
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                                                                   12   C.       Honda’s Knowledge of the Sealant Defect
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                                                                   13            62.    Honda markets its vehicles as reliable when compared to the competition.3
                                                                   14            63.    Automobiles must be able to withstand foreseeable usage conditions. A
                                                                   15   vehicle can suffer extensive damage and costly repairs from customary environmental
                                                                   16   and usage conditions when a vehicle suffers from a defect such as the Sealant Defect.
                                                                   17            64.    In many instances, consumers have incurred and will continue to incur
                                                                   18   expenses for repair of the body seam and tailgate control module despite the Sealant
                                                                   19   Defect having been contained in the Class Vehicles when manufactured by Honda.
                                                                   20            65.    Upon information and belief, Honda, through (1) its own records of
                                                                   21   customers’ complaints, (2) dealership repair records, (3) records from the National
                                                                   22   Highway Traffic Safety Administration (NHTSA), (4) warranty and post-warranty
                                                                   23   claims, (5) internal pre-sale durability testing, and (6) other various sources, was well
                                                                   24   aware of the Sealant Defect but failed to notify customers of the nature and extent of
                                                                   25   the problems with Class Vehicles’ body seam seals or to provide any adequate remedy.
                                                                   26   ///
                                                                   27
                                                                   28   3
                                                                            See, e.g., https://automobiles.honda.com/awards (last visited October 24, 2024).
                                                                                                                 14
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                                                                    1         66.    Honda failed to adequately research, test and/or manufacture the body
                                                                    2   seam seals in the Class Vehicles before warranting, advertising, promoting, marketing,
                                                                    3   and selling the Class Vehicles as suitable and safe for use in an intended and/or
                                                                    4   reasonably foreseeable manner.
                                                                    5         67.    Honda is experienced in the manufacture of consumer vehicles. As an
                                                                    6   experienced manufacturer, Honda conduct tests, including pre-sale durability testing,
                                                                    7   on incoming components, including the body seams and seals, to verify that the parts
                                                                    8   are free from defects and align with Honda’s specifications.
                                                                    9         68.    Honda’s presale durability testing includes five metrics that allegedly
                                                                   10   “ensure high quality” by conducting “comprehensive quality assurance activities from
                                                                   11   the dual perspectives of planning and manufacturing.”4 Honda admits that its
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                                                                   12   “production departments implement manufacturing controls to keep variability within
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                                                                   13   applicable standards based on drawings and develop production processes so that all
                                                                   14   workers can continue to achieve a consistent level of quality.” Thus, Honda knew or
                                                                   15   should have known of the Sealant Defect through its comprehensive quality assurance
                                                                   16   activities and manufacturing controls.
                                                                   17         69.    First, Honda’s “engineers utilize a database of measures and techniques
                                                                   18   previously used to prevent market quality issues and other information. They
                                                                   19   communicate closely with manufacturing departments during the initial development
                                                                   20   stage and put product function, performance and quality assurance initiatives in writing.
                                                                   21   These are shared to ensure efforts are coordinated with production departments’ process
                                                                   22   assurance activities and to coordinate quality assurance initiatives.”
                                                                   23         70.    Second, “Honda’s production departments establish manufacturing control
                                                                   24   items and criteria for each part, process, and operation to prevent product quality
                                                                   25   issues.” These controls are explicitly put in place to “prevent product quality issues”
                                                                   26
                                                                   27   4
                                                                         https://global.honda/en/sustainability/cq_img/report/pdf/2018/Honda-SR-2018-en-065-
                                                                        078.pdf (last visited October 24, 2024). The quotes in paragraphs 69-76 all refer to this
                                                                   28
                                                                        webpage.
                                                                                                               15
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                                                                    1   whereby Honda’s engineers “use these manufacturing control items and criteria to
                                                                    2   verify manufacturing variability.”
                                                                    3         71.    Third, for outsourced parts, Honda visits its suppliers’ manufacturing
                                                                    4   facilities to conduct quality audits based on the “‘Three Reality Principle,’ which
                                                                    5   emphasizes ‘going to the actual place,’ ‘knowing the actual situation’ and ‘being
                                                                    6   realistic.’” Honda uses “[e]xperts in the development and production of individual parts
                                                                    7   visit manufacturing facilities and conduct audits of suppliers’ quality systems and their
                                                                    8   implementation.”
                                                                    9         72.    Fourth, and perhaps most importantly, Honda assures long-term reliability
                                                                   10   of its parts and vehicles through “rigorous durability testing.” Honda states the
                                                                   11   following about this metric (emphasis added):
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                                                                   12         Honda subjects new and redesigned models to rigorous long-distance
                                                                              durability testing before beginning mass production to verify that there are
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                                                                   13         no quality issues.
                                                                   14         Honda also disassembles vehicles used in the test drives into every single
                                                                              part and verifies that there are no quality issues through a process
                                                                   15         consisting of several thousand checks. By accumulating data on the issues
                                                                              discovered through these test drives and detailed inspections as well as
                                                                   16         associated countermeasures, the Company is able to ensure a high level of
                                                                              quality and reliability.
                                                                   17
                                                                   18         73.    Fifth, Honda developed and implemented the “Line End Tester,” an
                                                                   19   inspection and diagnostic system, that is used “in shipping quality inspections of all
                                                                   20   electronic control systems, from switches and instruments to air conditioner, audio,
                                                                   21   engine and transmission operations.”
                                                                   22         74.    Through these quality control metrics, Honda knew or should have known
                                                                   23   that the body seam seals in the Class Vehicles were defective.
                                                                   24         75.    Lastly, as explained in Honda’s Sustainability Report:
                                                                   25         When Honda determines that an issue occurs with a product that requires
                                                                              market action, it quickly notifies government authorities in accordance
                                                                   26         with individual countries’ regulations and contacts owners by means of
                                                                              direct mail from dealers or by telephone to provide information about how
                                                                   27         they can receive repairs free of charge. In addition to Honda’s website,
                                                                              market action information is provided through the news media as
                                                                   28         necessary.

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                                                                    1         76.    Despite such assurances and procedures, Honda has not contacted Class
                                                                    2   Members by direct mail or telephone to inform them how they can receive free repairs
                                                                    3   related to the Sealant Defect within the United States. Additionally, upon information
                                                                    4   and belief, Honda has also not provided associated information regarding the Sealant
                                                                    5   Defect on its website or through the news media.
                                                                    6         77.    Per the below, Honda also expressly warranted the Class Vehicles to be
                                                                    7   free from defects for a period of three years or 36,000 miles under the New Vehicle
                                                                    8   Limited Warranty.5 This warranty is applicable to the Sealant Defect; however, Honda
                                                                    9   has failed to correct the issue.
                                                                   10
                                                                   11
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                                                                   12
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                                                                   24         78.    Buyers, lessees, and other owners of the affected Vehicles were without
                                                                   25   access to the information concealed by Honda as described herein, and therefore
                                                                   26   reasonably relied on Honda’s representations and warranties regarding the quality,
                                                                   27
                                                                   28   5
                                                                         https://owners.honda.com/Documentum/Warranty/Handbooks/2019_Honda_Warranty_Base
                                                                        book_AWL07531_Petrol_Hybrid_PHEV__SIS.pdf, at 6 (last visited Mar. 21, 2022).
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                                                                    1   durability, and other material characteristics of the Vehicles. Had these buyers and
                                                                    2   lessees known of the defect and the potential harm, they would have taken steps to
                                                                    3   avoid that harm and/or would have paid less for the Vehicles than the amounts they
                                                                    4   actually paid, or would not have purchased the Vehicles.
                                                                    5            79.    Honda also issued a voluntary recall of certain MY2008-2009 Honda
                                                                    6   Odyssey vehicles in February of 2012 because “the tailgate of vehicles equipped with a
                                                                    7   power tailgate system may be prone to early life failures.” 6 There, Honda’s recall
                                                                    8   involved free repairs of the power liftgate struts, which “help[ed] to raise and support
                                                                    9   the liftgate of vehicles.” Honda admitted that the “manufacturing flaw” could result in
                                                                   10   a leak in the pressurized struts and negatively impact their performance. This prior recall
                                                                   11   alerted Honda to the importance of a properly functioning power liftgate, and the
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                                                                   12   detrimental impacts of manufacturing flaws on the liftgates.
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                                                                   13   D.       Complaints by Other Class Members
                                                                   14            80.    Plaintiff’s experience is by no means an isolated or outlying occurrence.
                                                                   15   Indeed, the internet is replete with examples of blogs and other websites where
                                                                   16   consumers have complained of the exact same Sealant Defect within the Class Vehicles.
                                                                   17            81.    Class Vehicle owners have publicly complained to the United States
                                                                   18   government about the Sealant Defect in Class Vehicles since the vehicle has been
                                                                   19   released. The Office of Defects Investigation (“ODI”) is an office within the National
                                                                   20   Highway Traffic Safety Administration (“NHTSA”). ODI conducts defect
                                                                   21   investigations and administers safety recalls to support NHTSA’s mission to improve
                                                                   22   safety on the Nation’s highways. 7 All automobile manufacturers routinely monitor and
                                                                   23   analyze NHTSA complaints because this information is used in determining if a recall
                                                                   24   should be issued. Indeed, automobile manufacturers are required by law to monitor
                                                                   25   NHTSA complaints and report any potential safety defects to the United States
                                                                   26
                                                                   27
                                                                        6
                                                                            https://www.kbb.com/honda/odyssey/2009/recall/ (last visited October 24, 2024).
                                                                   28   7
                                                                            See https://www.nhtsa.gov/resources-investigations-recalls (last visited October 24, 2024).
                                                                                                                 18
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                                                                    1   government. See TREAD Act, Pub. L. No. 106-414, 114 Stat. 1800 (2000). Thus,
                                                                    2   Defendants have knowledge of any and all NHTSA complaints.
                                                                    3         82.   The following is just a small sampling of the many complaints submitted
                                                                    4   to ODI by Class Vehicle owners. These publicly available complaints, filed as early as
                                                                    5   December of 2019, evidence Honda’s prior knowledge of the Sealant Defect, the
                                                                    6   negative experiences encountered by Class Members, and the financial burden this
                                                                    7   place on them.
                                                                    8   NHTSA ID Number: 11290516
                                                                        Incident Date March 1, 2019
                                                                    9   Complaint Date December 31, 2019
                                                                        Consumer Location DAYTON, OH
                                                                   10   Vehicle Identification Number 5FNRL6H74KB****
                                                                        Summary of Complaint
                                                                   11   2019 HONDA ODYSSEY. CONSUMER WRITES IN REGARDS TO VARIOUS
                                                                        DEFECTS. *LD THE CONSUMER STATED ALL THE DOORS UNLOCK
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                                                                   12   INDEPENDENTLY. THE SLIDING DOORS, INCLUDING THE REAR HATCH,
                                                                        UNLOCK AND OPEN INDEPENDENTLY AND WHILE DRIVING. THE
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                                                                   13   VEHICLE WINDOWS AND SUNROOF OPEN FULLY INDEPENDENTLY,
                                                                        WHILE THE VEHICLE WAS LOCKED. *JS
                                                                   14
                                                                        NHTSA ID Number: 11323163
                                                                   15   Incident Date February 13, 2018
                                                                        Complaint Date May 4, 2020
                                                                   16   Consumer Location HOUSTON, TX
                                                                        Vehicle Identification Number 5FNRL6H78KB****
                                                                   17   Summary of Complaint
                                                                        REAR LIFT GATE WAS NOT PROPERLY MANUFACTURED AND WAS
                                                                   18   LEAKING WATER THAT COULD LEAD TO MOLD GROWTH. ISSUE WAS
                                                                        TAKEN INTO SERVICE 3 SEPARATE TIMES AND DIFFERENT LEAKS WERE
                                                                   19   FOUND EACH TIME. HONDA CORPORATE PROVIDED NO ASSISTANCE OR
                                                                        SUPPORT FOR RESOLVING THIS ISSUE AND COULDN'T EVEN FIND
                                                                   20   RECORDS OF THE COMPLAINT (I CALLED AND STARTED A CASE EACH
                                                                        TIME - THANK GOODNESS I MAINTAIN RECORDS ON THIS). APPARENTLY,
                                                                   21   HONDA CORPORATE HAS NO CONCERN ABOUT WATER LEAKS OR THE
                                                                        QUALITY OF THEIR MANUFACTURED PRODUCT ONCE IT IS SOLD TO A
                                                                   22   CONSUMER.
                                                                   23   NHTSA ID Number: 11343124
                                                                        Incident Date February 2, 2020
                                                                   24   Complaint Date August 4, 2020
                                                                        Consumer Location DERWOOD, MD
                                                                   25   Vehicle Identification Number 5FNRL6H56JB****
                                                                        Summary of Complaint
                                                                   26   WHILE VEHICLE IS STATIONARY, AFTER CLOSING THE REAR DOOR. THE
                                                                        DOOR LATCH WILL NOT ALWAYS HOLD THE REAR DOOR IN A FULLY
                                                                   27   CLOSED CONDITION, CAUSING A DOOR OPEN WARNING CONDITION. IT
                                                                        MAY TAKE SEVERAL ATTEMPTS TO FORCEFULLY SLAM THE REAR DOOR
                                                                   28   CLOSED BEFORE IT LOCKS CORRECTLY. THIS HAPPENS MULTIPLE TIMES

                                                                                                            19
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                                                                    1   EACH MONTH. ON VEHICLE WITHOUT AUTO CLOSING REAR DOOR
                                                                        OPTION.
                                                                    2
                                                                        NHTSA ID Number: 11396844
                                                                    3   Incident Date December 30, 2020
                                                                        Complaint Date February 18, 2021
                                                                    4   Consumer Location STOCKBRIDGE, GA
                                                                        Vehicle Identification Number 5FNRL6H70KB****
                                                                    5   Summary of Complaint
                                                                        WATER KEEPS LEAKING IN THE TRUNK. EVERYTIME IT RAINS THERE IS A
                                                                    6   PUDDLE IN THE TRUNK. THIS HAS HAPPENED WELL OVER 15 TIMES AND
                                                                        AMERICAN HONDA HAS NOT ACKNOWLEDGED THIS BEING AS RECALL.
                                                                    7   THIS ISSUE HAS BEEN ALL OVER THE FORUM AND REDDIT AS WELL. I AM
                                                                        NOT THE FIRST ONE THAT HAS FACED THIS ISSUE.
                                                                    8
                                                                        NHTSA ID Number: 11436110
                                                                    9   Incident Date May 26, 2021
                                                                        Complaint Date October 8, 2021
                                                                   10   Consumer Location JACKSONVILLE, FL
                                                                        Vehicle Identification Number 5fnrl6h72jb****
                                                                   11   Summary of Complaint
                                                                        Vehicle leaking water on backside and is causing electric issues. One of the issue is rear
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                                                                   12   lift gate malfunctioning. The hatching opening on its own etc which is a safety risk.The
                                                                        dealer repaired this under warranty and they issue came back again almost four times
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                                                                   13   so far. Now dealer is saying the issue is due to leaking water from top which they
                                                                        mentioned after vehicle went out of warranty and asking to contact body shop to identify
                                                                   14   the leak. The honda dealer not fixing the issue now. Please check if you received similiar
                                                                        issue and help with me regarding the same.
                                                                   15
                                                                        NHTSA ID Number: 11455778
                                                                   16   Incident Date March 23, 2018
                                                                        Complaint Date March 8, 2022
                                                                   17   Consumer Location BRENTWOOD, NH
                                                                        Vehicle Identification Number 5FNRL6H76JB****
                                                                   18   Summary of Complaint
                                                                        After leasing our car for less than 1 year - the power liftgate malfunctioned (which
                                                                   19   coincidentally there had been a recall in the past on our honda odyssey 2009 for appears
                                                                        to be the exact same issue.) It seems to be exactly the same thing happening again with
                                                                   20   the 2018 model we have now. So that the trunk won't open by itself. So for the past few
                                                                        years we had too manually lift the trunk and it's extremely heavy to lift and slow and
                                                                   21   can bang you in the head because it does not lift very high. If this wasn't bad enough a
                                                                        month ago the electrical power/fuse to even accomplish what I just explained
                                                                   22   electrically shorted for no reasonable explanation. So that my husband has to quite
                                                                        literally climb through the two rows of seats take the plastic off permanently on the
                                                                   23   manual/nonelectric trunk release from the inside of the car in order to get our trunk door
                                                                        to open at all. The outside of the car electrical button has no electricity running in it at
                                                                   24   all. This is terrible for a family of 5 children. There haven't been any recalls on this and
                                                                        I'm sure it'll be quite expensive to replace. Please look into this issue for us please.
                                                                   25   Thank you kindly. Please see below the recall in 2009 that should also be for the 2018
                                                                        model as well. HONDA IS RECALLING CERTAIN MODEL YEAR 2008-2009
                                                                   26   ODYSSEY VEHICLES, THE GAS-FILLED STRUTS THAT HELP TO RAISE AND
                                                                        SUPPORT THE LIFTGATE OF VEHICLES EQUIPPED WITH A POWER
                                                                   27   LIFTGATE SYSTEM MAY BE PRONE TO EARLY LIFE FAILURES DUE TO A
                                                                        MANUFACTURING FLAW. THE FLAW CAN RESULT IN A LEAK OF THE
                                                                   28   PRESSURIZED GAS, LEADING TO REDUCED STRUT PERFORMANCE.

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                                                                    1   NHTSA ID Number: 11459108
                                                                        Incident Date March 20, 2022
                                                                    2   Complaint Date March 31, 2022
                                                                        Consumer Location RACINE, WI
                                                                    3   Vehicle Identification Number 5FNRL6H2XLB****
                                                                        Summary of Complaint
                                                                    4   The contact owns a 2020 Honda Odyssey. The contact stated while driving at an
                                                                        undisclosed speed, the warning message "Lift Gate Open" illuminated. The vehicle was
                                                                    5   taken to the local dealer, where it was diagnosed that the lift gate was fractured. The
                                                                        vehicle was repaired; however, the failure recurred. The vehicle was taken to the same
                                                                    6   local dealer, where it was diagnosed that the striker plate needed to be replaced. The
                                                                        vehicle was repaired; however, the failure persisted. The vehicle was taken back to the
                                                                    7   local dealer but was not diagnosed or repaired. The manufacturer was notified of the
                                                                        failure but provided no assistance. The failure mileage was approximately 13,000.
                                                                    8
                                                                        NHTSA ID Number: 11473935
                                                                    9   Incident Date February 1, 2022
                                                                        Complaint Date July 14, 2022
                                                                   10   Consumer Location ANDREWS, SC
                                                                        Vehicle Identification Number 5FNRL6H77JB****
                                                                   11   Summary of Complaint
                                                                        The component that is giving me issues is the power liftgate. As I have been driving
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                                                                   12   down the road, it has unlocked and opened even at a stoplight. And would go up and
                                                                        down up and down until finally it runs the battery completely dead. I have taken it to
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                                                                   13   Honda. They did not know what’s causing it. I am taking it now to another service
                                                                        dealer. to see if he can fix it. I’m in hopes that he can do something. But upon reviewing
                                                                   14   other complaints online, this has been an issue for other people. That could cause a lot
                                                                        of safety issues for anyone around the vehicle or driving the vehicle.
                                                                   15
                                                                        NHTSA ID Number: 11474577
                                                                   16   Incident Date January 18, 2019
                                                                        Complaint Date July 18, 2022
                                                                   17   Consumer Location SILVER SPRING, MD
                                                                        Vehicle Identification Number 5FNRL6H98JB****
                                                                   18   Summary of Complaint
                                                                        The automatic tail gate hatch closes when its fully open. It will close while under it and
                                                                   19   bumps your head if you're not careful. I have bumped my head a few times. Nothing
                                                                        serious enough to see a doctor but it happens 95% of the time the gate is opened. I
                                                                   20   reported this to Honda dealer where I purchased the vehicle over two years ago before
                                                                        COVID but it doesn't seem to concern them.
                                                                   21
                                                                        NHTSA ID Number: 11475412
                                                                   22   Incident Date June 1, 2022
                                                                        Complaint Date July 22, 2022
                                                                   23   Consumer Location WARRIORS MARK, PA
                                                                        Vehicle Identification Number 5FNRL6H79JB****
                                                                   24   Summary of Complaint
                                                                        Vehicle keeps turning on accessory mode uncommanded. Resulting in draining battery.
                                                                   25   Battery is then recharged and process starts over again. Took vehicle to Honda
                                                                        dealership for diagnosis. Dealership diagnosed tailgate control module. Disconnected
                                                                   26   all connections to that module and problem persists. Constant discharge and recharge
                                                                        of battery presents a fire hazard. A automotive/mechanical engineer evaluated the
                                                                   27   problem, suggested it was the body control module and highly recommended I not park
                                                                        my vehicle in my attached garage until the problem is resolved.
                                                                   28
                                                                                                             21
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                                                                    1   NHTSA ID Number: 11478984
                                                                        Incident Date August 12, 2022
                                                                    2   Complaint Date August 12, 2022
                                                                        Consumer Location BROWNSBURG, IN
                                                                    3   Vehicle Identification Number 5FNRL6H73JB****
                                                                        Summary of Complaint
                                                                    4   It is very common for the vehicle model to experience water intrusion toward the back
                                                                        lift gate because of rain. This can cause electric problems with the vehicle that can result
                                                                    5   in property damage or death. Airbags may not deploy due to water damage as well.
                                                                        These vehicles should be recalled as soon as possible. Most owner are not aware of this
                                                                    6   issue because they park vans in a garage. Please investigate this matter and issue a recall
                                                                    7   NHTSA ID Number: 11497586
                                                                        Incident Date November 15, 2022
                                                                    8   Complaint Date December 15, 2022
                                                                        Consumer Location PORT ORANGE, FL
                                                                    9   Vehicle Identification Number 5FNRL6H92LB****
                                                                        Summary of Complaint
                                                                   10   The contact owns a 2020 Honda Odyssey. The contact stated that the vehicle was
                                                                        leaking water from the roof seam near the driver’s side rear of the vehicle. The leak
                                                                   11   caused water to form a puddle in the trunk tray compartment of the vehicle. The contact
                                                                        had taken the vehicle to the dealer who resealed the roof seam. The manufacturer was
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                                                                   12   made aware of the failure. The approximate failure mileage was 23,900.
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                                                                   13   NHTSA ID Number: 11501226
                                                                        Incident Date November 23, 2022
                                                                   14   Complaint Date January 11, 2023
                                                                        Consumer Location FRIENDSWOOD, TX
                                                                   15   Vehicle Identification Number 5FNRL6H72JB****
                                                                        Summary of Complaint
                                                                   16   GOODMORNING, I bought my car honda Odyssey 2018 model, on August 20th, 2018,
                                                                        from Honda of Clearlake, in League City, TX, the day they opened new location, this
                                                                   17   car has been giving us trouble since then. when under warranty the sunroof motor
                                                                        became faulty. I agree that they repaired it but took more than a week to get repaired.
                                                                   18   The car has less than 30000 miles now, last year November when I was driving car
                                                                        started showing up multiple warning lights, and tail gate not closing and locking and
                                                                   19   took the car dealer service center and without proper multi point inspection they ruled
                                                                        out its poor battery and changed it. Within a week again the same problem started
                                                                   20   appearing, took the car to dealer service center and took almost more than week to do
                                                                        inspection and stated that, there is a faulty weld and leak on back tail gate hinges in car
                                                                   21   and water is seeping into electrical system which is on driver side rear in between plastic
                                                                        trim and main body. this caused a short circuit and multiple warning lights turning on.
                                                                   22   electrical system and carpets were damaged, and they recommended to change whole
                                                                        harness and electrical components which will be more than $6000.00 After a week they
                                                                   23   stated that it has a faulty caulk on roof were water seeping through, Honda of clear lake
                                                                        service advisor [XXX] agreed that he have come across multiple cars (3 or 4) in same
                                                                   24   dealer ship with same problems. nobody knows how many dealers service centers had
                                                                        same problem. This is clearly manufacturing defect and Honda corporate don't want to
                                                                   25   make this issue a recall. they agreed to replace components, but we have to pay the labor
                                                                        which we agreed, but it's been more than a month which they can't repair and give back
                                                                   26   our car. now I think this leak issue and the issue, I mentioned earlier (faulty sunroof
                                                                        motor) is somehow related. I would request you to probe an enquiry into this issue
                                                                   27   which, can be an electrical and fire hazard and rule out to be a recall from Honda side.
                                                                        Thanking you INFORMATION Redacted PURSUANT TO THE FREEDOM OF
                                                                   28   INFORMATION ACT (FOIA), 5 U.S.C. 552(B)(6).

                                                                                                              22
                                                                                                   CLASS ACTION COMPLAINT
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                                                                    1   NHTSA ID Number: 11511139
                                                                        Incident Date January 18, 2023
                                                                    2   Complaint Date March 10, 2023
                                                                        Consumer Location Unknown
                                                                    3   Vehicle Identification Number 5FNRL6H79LB****
                                                                        Summary of Complaint
                                                                    4   On 18 January 2023 the tailgate on our 2020 Odyssey refused to open. Neither the inside
                                                                        switch nor the outside switch does anything. I crawled in the back and checked the fuses
                                                                    5   and both are good. I also discovered that the emergency tailgate release did not function.
                                                                        Took it to the dealer, Greenway Honda in Florence, Alabama, an hour from home, and
                                                                    6   they weren't able to find the fault with a cursory check and a reboot of whatever
                                                                        computer system is applicable. They said they need to keep it for at least a half day and
                                                                    7   "really tear into it." But we could not leave the vehicle at that time, having no
                                                                        transportation home. Eventual diagnosis determined the tailgate control module, the
                                                                    8   tailgate closure motor, and the tailgate latch had all failed. Parts were on backorder and
                                                                        no estimate on availability. After I contacted Honda corporate the parts suddenly
                                                                    9   became available at the dealership within a few days. Repairs were effected on 27
                                                                        February at Greenway Honda, Florence, Alabama. We were without the full use of our
                                                                   10   vehicle for approximately six weeks. Occupants could become trapped in the vehicle if
                                                                        the front doors were disabled in a collision and electrical power was lost, rendering the
                                                                   11   sliding doors and the tailgate inoperative. The emergency release lever also would not
                                                                        function and this could trap occupants completely. Examination of the tailgate
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                                                                   12   electronic control module shows water infiltration which conceivably shorted the
                                                                        closure motor and jammed the latch, making it impossible to open the tailgate. Photos
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                                                                   13   of the failed electronic module were provided to the dealership and to Honda corporate.
                                                                        The failed parts are in my possession and are available for inspection.
                                                                   14
                                                                        NHTSA ID Number: 11514170
                                                                   15   Incident Date March 23, 2023
                                                                        Complaint Date March 28, 2023
                                                                   16   Consumer Location PORTSMOUTH, NH
                                                                        Vehicle Identification Number 5FNRL6H7XJB****
                                                                   17   Summary of Complaint
                                                                        While driving multiple system failure- warning lights then failure of: blind spot alert,
                                                                   18   lane departure, back up camera, wipers, tailgate function. When able to stop, power
                                                                        locks did not function. Inability to access rear of car via sliding doors would pose
                                                                   19   serious risk if accident occurred due to system failure. Prior to all systems alert, tailgate
                                                                        warning light had been intermittently appearing for a few days. Dealer service center
                                                                   20   noted water leak from unsealed section between window and frame in back driver side
                                                                        panel that corroded body console module.
                                                                   21
                                                                        NHTSA ID Number: 11516508
                                                                   22   Incident Date April 11, 2023
                                                                        Complaint Date April 11, 2023
                                                                   23   Consumer Location Unknown
                                                                        Vehicle Identification Number 5FNRL6H79KB****
                                                                   24   Summary of Complaint
                                                                        The rear power lift gage has stopped working due to leaking in the rear of the van. Per
                                                                   25   online threads, this is a common issue and should be a recall as so many issues have
                                                                        happened to other with this same problem.
                                                                   26
                                                                        NHTSA ID Number: 11524076
                                                                   27   Incident Date May 26, 2023
                                                                        Complaint Date May 26, 2023
                                                                   28   Consumer Location Unknown

                                                                                                              23
                                                                                                   CLASS ACTION COMPLAINT
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                                                                    1   Vehicle Identification Number 5FNRL6H7XJB****
                                                                        Summary of Complaint
                                                                    2   I have 2018 Odyssey EXL . on instrument display got message "Power Tailgate Issue".
                                                                        The tailgate can not open either by control button or manually. I have already had this
                                                                    3   issue 2 times. I sent it to dealer and been told the power tailgate control module was
                                                                        intruded by water. I replaced the control module, and after several months, the issue
                                                                    4   recovered. The power tailgate can not open and close will cause my trip in danger. I
                                                                        hope the honda can fix this issue for the customers free.
                                                                    5
                                                                        NHTSA ID Number: 11526594
                                                                    6   Incident Date June 1, 2023
                                                                        Complaint Date June 12, 2023
                                                                    7   Consumer Location Unknown
                                                                        Vehicle Identification Number 5FNRL6H78MB****
                                                                    8   Summary of Complaint
                                                                        The rear lift gate will be open and then all the sudden decide it needs to be shut. Beeps
                                                                    9   really load and then come down hard and fast with no real time to recognize what is
                                                                        happening and get out of the way. It hurts and doesn’t stop when it hits a person
                                                                   10
                                                                        NHTSA ID Number: 11527986
                                                                   11   Incident Date August 1, 2022
                                                                        Complaint Date June 20, 2023
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                                                                   12   Consumer Location Unknown
                                                                        Vehicle Identification Number 5FNRL6H72JB****
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                                                                   13   Summary of Complaint
                                                                        Rear hatch on our Odyssey EX-L started giving a "Power Tailgate Problem", and it
                                                                   14   would not open at all except by mechanically releasing the hatch from the emergency
                                                                        access panel. I replaced the rear hatch control module and the hatch could now again be
                                                                   15   opened from the outside as normal, but the power tailgate still did not function up and
                                                                        down, and requires manual lifting open and pushing closed. Upon inspection, the
                                                                   16   removed/malfunctioning control module appears to have failed due to water infiltration,
                                                                        meaning water has entered the inside of the vehicle and then shorted electrical
                                                                   17   components, potentially creating a fire hazard.
                                                                   18   NHTSA ID Number: 11529349
                                                                        Incident Date April 1, 2022
                                                                   19   Complaint Date June 28, 2023
                                                                        Consumer Location Unknown
                                                                   20   Vehicle Identification Number 5FNRL6H74JB****
                                                                        Summary of Complaint
                                                                   21   Vehicle was taken into Honda dealer due to trunk not opening and closing properly &
                                                                        receiving “Power Tailgate Failure” warning and rear entertainment system not working.
                                                                   22   After many hours, I was told the power tailgate control unit and floor wire harness
                                                                        would need replaced due to corosion from water damage ??? This was at 42,653 miles!!
                                                                   23   They couldn’t explain how the damage could have happened and Honda refused to do
                                                                        anything about fixing it.
                                                                   24
                                                                        NHTSA ID Number: 11531122
                                                                   25   Incident Date June 22, 2023
                                                                        Complaint Date July 9, 2023
                                                                   26   Consumer Location Unknown
                                                                        Vehicle Identification Number 5FNRL6H77JB****
                                                                   27   Summary of Complaint
                                                                        Water leaking in from roof or driver side windows into rear electronics at the fuse box
                                                                   28   and the tailgate control module. When control module was removed there was gross

                                                                                                             24
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                                                                    1   evidence of water saturation in the control module and multiple areas of corrosion, rust
                                                                        and fouling of electrical components causing battery to drain dead.
                                                                    2
                                                                        NHTSA ID Number: 11535640
                                                                    3   Incident Date July 30, 2023
                                                                        Complaint Date July 31, 2023
                                                                    4   Consumer Location ORLANDO, FL
                                                                        Vehicle Identification Number 5FNRL6H72JB****
                                                                    5   Summary of Complaint
                                                                        After rainfall water is leaking into the rear fuse box compartment located behind the 3rd
                                                                    6   row seats and causing the tailgate control module and other parts to fail. The tailgate
                                                                        does not have any power and cannot be opened or closed with the fob or the push buttons
                                                                    7   located in the tailgate or in the dashboard area. The tailgate cannot be locked as the latch
                                                                        does not engage and it can be very risky to drive the vehicle as the tailgate might come
                                                                    8   open while driving. There might be some opening on the roof of the vehicle from where
                                                                        water is leaking into the fuse compartment and causing this hazardous situation.
                                                                    9
                                                                        NHTSA ID Number: 11537560
                                                                   10   Incident Date August 9, 2023
                                                                        Complaint Date August 9, 2023
                                                                   11   Consumer Location SUMMERVILLE, SC
                                                                        Vehicle Identification Number 5FNRL6H72LB****
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                                                                   12   Summary of Complaint
                                                                        1)The back hatch will randomly close. The first time it happened I didn’t know what
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                                                                   13   was going on and it hit me in the head. Today my kids were there and it almost hit them
                                                                        but I pushed them out of the way because I knew what was happening as it makes a
                                                                   14   certain noise first. 2)It stalls out randomly at red lights. 3) the doors won’t open or close
                                                                        at times. 4) the dvd player gets so hot it almost burns you and the dvd player won’t
                                                                   15   work. When I contact the dealer they say they can’t do anything since it happens
                                                                        randomly and it if doesn’t happen when it’s at the dealership they don’t know what to
                                                                   16   do so they don’t even make an appointment. Two years ago we complained that the
                                                                        door didn’t have a sensor because it shut my two year olds hand in the door. Honda
                                                                   17   acted like we were crazy. Then it became a recall and they ‘fixed’ them. But now they
                                                                        won’t open or close.
                                                                   18
                                                                   19   NHTSA ID Number: 11539546
                                                                        Incident Date August 1, 2023
                                                                   20   Complaint Date August 19, 2023
                                                                        Consumer Location NEW PORT RICHEY, FL
                                                                   21   Vehicle Identification Number 5FNRL6H76KB****
                                                                        Summary of Complaint
                                                                   22   Power lift gate control module has shorted out due to water leak somewhere on my van.
                                                                        Board has visible water damage. Tailgate won’t open or shut at all. Has to be done
                                                                   23   manually from inside the vehicle through trim opening on rear tailgate.
                                                                   24   NHTSA ID Number: 11539871
                                                                        Incident Date August 16, 2023
                                                                   25   Complaint Date August 21, 2023
                                                                        Consumer Location MIAMI, FL
                                                                   26   Vehicle Identification Number 5FNRL6H72KB****
                                                                        Summary of Complaint
                                                                   27   The contact owns a 2019 Honda Odyssey. The contact stated that a message indicating
                                                                        the power liftgate failure was displayed, and 2-3 days later, the power liftgate failed to
                                                                   28   open as needed. The vehicle was taken to the dealer, where it was diagnosed that water

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                                                                                                   CLASS ACTION COMPLAINT
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                                                                    1   intrusion in the power liftgate control module had caused the liftgate to fail to operate
                                                                        as designed. The vehicle was not repaired. The manufacturer was not notified of the
                                                                    2   failure. The failure mileage was approximately 32,700.
                                                                    3   NHTSA ID Number: 11542006
                                                                        Incident Date August 31, 2023
                                                                    4   Complaint Date September 1, 2023
                                                                        Consumer Location EVERETT, WA
                                                                    5   Vehicle Identification Number 5FNRL6H75JB****
                                                                        Summary of Complaint
                                                                    6   While the van was in motion, the power tailgate unlocked and opened on its own. The
                                                                        dashboard displayed tailgate open warning message. I slowed down and the lock re-
                                                                    7   engaged to to close the tailgate. It happened again later that evening. Fortunately, I was
                                                                        within city limits, driving about 40 mph.
                                                                    8
                                                                        NHTSA ID Number: 11543594
                                                                    9   Incident Date January 18, 2023
                                                                        Complaint Date September 9, 2023
                                                                   10   Consumer Location PLEASANT HILL, IA
                                                                        Vehicle Identification Number 5FNRL6H7XJB****
                                                                   11   Summary of Complaint
                                                                        The power tailgate on my 2018 Honda Odyssey EX-L started opening and closing on
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                                                                   12   its own, seemingly at random. The latch would not cinch and the gauge cluster reported
                                                                        an opening attempt while driving on the highway. This failure cascaded and ended up
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                                                                   13   bringing every device on the B-CAN network down, including the instrument cluster,
                                                                        heated seats, power sliding doors, ADAS systems including FCW/LDW/LKA and
                                                                   14   various telltales and buttons on the dash. Upon disassembly of the interior to expose the
                                                                        affected controllers, I discovered that the power tailgate controller was full of water.
                                                                   15   There was enough water in it to cause arcing of the power and CAN terminals. I traced
                                                                        the ingress path upwards and discovered a crack in the seam sealer on the roof,
                                                                   16   underneath the left roof rack rail at the very rear of the vehicle. Water enters under the
                                                                        roof rail, drips down the door hinge, then drips down the body to the cup holder and
                                                                   17   directly into the controller. To remediate I had to replace the damaged controller and
                                                                        apply seam sealer underneath the roof rail at a cost of approximately $200. I called the
                                                                   18   local dealer to attempt to report this to Honda but was unable to find the appropriate
                                                                        person. Over a dozen people have reported this issue online and there are pictures of the
                                                                   19   issue. I posted pictures to one of the links referenced below and have additional pictures.
                                                                        I believe this is a manufacturing defect and not caused by age or use of the vehicle and
                                                                   20   there is strong evidence it affects a lot of people. The issue will be particularly prevalent
                                                                        when the vehicle is parked outside on a downward incline. I work in a related industry
                                                                   21   on embedded devices that must meet functional safety standards, and I believe an issue
                                                                        like this would lead to a mandatory safety recall. [XXX] [XXX] INFORMATION
                                                                   22   REDACTED PURSUANT TO THE FREEDOM OF INFORMATION ACT (FOIA), 5
                                                                        U.S.C. 552(B)(6)
                                                                   23
                                                                        NHTSA ID Number: 11544922
                                                                   24   Incident Date August 26, 2023
                                                                        Complaint Date September 16, 2023
                                                                   25   Consumer Location BELLEVUE, WA
                                                                        Vehicle Identification Number 5FNRL6H73KB****
                                                                   26   Summary of Complaint
                                                                        The trunk lift gate can suddenly fail and slam down quickly, being a safety hazard.
                                                                   27   When the trunk opens, it will move up and down a few times, then it will beep three
                                                                        times and slam shut. It consistently happens when parked on an incline.
                                                                   28
                                                                                                              26
                                                                                                   CLASS ACTION COMPLAINT
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                                                                    1
                                                                        NHTSA ID Number: 11545031
                                                                    2   Incident Date August 15, 2023
                                                                        Complaint Date September 17, 2023
                                                                    3   Consumer Location FORT LAUDERDALE, FL
                                                                        Vehicle Identification Number 5FNRL6H75KB****
                                                                    4   Summary of Complaint
                                                                        rear tailgate seal failure 2019 honda odyssey allowing water intrusion and corrosion of
                                                                    5   lift gate control module, per ft lauderdale honda dealer. Not a safety issue but a design
                                                                        defect per other honda owners.
                                                                    6
                                                                        NHTSA ID Number: 11545160
                                                                    7   Incident Date September 8, 2023
                                                                        Complaint Date September 18, 2023
                                                                    8   Consumer Location HENDERSON, NV
                                                                        Vehicle Identification Number 5FNRL6H81JB****
                                                                    9   Summary of Complaint
                                                                        The contact owns a 2018 Honda Odyssey. The contact stated that upon opening the
                                                                   10   electronic tailgate and entering the trunk of the vehicle, an alert sounded, indicating that
                                                                        the tailgate was closing. After closing the tailgate, the tailgate suddenly jerked open,
                                                                   11   striking the contact. No warning lights were illuminated. The vehicle was taken to the
                                                                        dealer, who was unable to duplicate the failure. The vehicle was then taken to an
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                                                                   12   independent mechanic, who was also unable to duplicate the failure. The vehicle was
                                                                        not repaired. The manufacturer was notified of the failure but was unable to assist. The
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                                                                   13   failure mileage was 172,000.
                                                                   14   NHTSA ID Number: 11548844
                                                                        Incident Date October 7, 2023
                                                                   15   Complaint Date October 7, 2023
                                                                        Consumer Location Unknown
                                                                   16   Vehicle Identification Number 5FNRL6H98JB****
                                                                        Summary of Complaint
                                                                   17   Every time when it rains, the power tail gate fails showing beeping noise from the rear
                                                                        and on the screen and unable to lock the doors. Had to replace the power tail module
                                                                   18   couple of times so far and still problem persists. The Honda dealership mentioned there
                                                                        was a leak, repaired and replaced the module , inspite of the fix priblem still persists
                                                                   19   when it rains
                                                                   20   NHTSA ID Number: 11555697
                                                                        Incident Date October 30, 2023
                                                                   21   Complaint Date November 17, 2023
                                                                        Consumer Location LOVELAND, OH
                                                                   22   Vehicle Identification Number 5FNRL6H82KB****
                                                                        Summary of Complaint
                                                                   23   The motor that raises and lowers the rear liftgate failed and has been repaired already
                                                                        at a Honda Dealership. The van is not even 5 years old yet and the motor failing caused
                                                                   24   the lift gate to droop after opening causing my wife and I to bang our heads on it if we
                                                                        weren't watching for it. The more important safety concern is if the liftgate lowers to a
                                                                   25   certain point, the motor causes it to bounce up and down slightly and then automatically
                                                                        close. My concern for the safety of my young children made me get it repaired promptly.
                                                                   26   The honda dealership did confirm that the motor failed and it caused strain on the right
                                                                        strut as well need it to be replaced as well. There were no warning lights on dash. This
                                                                   27   is a youtube link to someone else with the same van and year with the same problem.
                                                                        This is what my van was doing. [XXX] INFORMATION REDACTED PURSUANT
                                                                   28   TO THE FREEDOM OF INFORMATION ACT (FOIA), 5 U.S.C. 552(B)(6)

                                                                                                              27
                                                                                                   CLASS ACTION COMPLAINT
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                                                                    1   NHTSA ID Number: 11557345
                                                                        Incident Date October 27, 2023
                                                                    2   Complaint Date November 28, 2023
                                                                        Consumer Location ROCKLEDGE, FL
                                                                    3   Vehicle Identification Number 5FNRL6H73JB****
                                                                        Summary of Complaint
                                                                    4   Water intrusion on the driver side rear panel has caused the power tailgate command
                                                                        module to short out twice now.
                                                                    5
                                                                        NHTSA ID Number: 11557923
                                                                    6   Incident Date November 3, 2023
                                                                        Complaint Date December 1, 2023
                                                                    7   Consumer Location POUGHKEEPSIE, NY
                                                                        Vehicle Identification Number 5FNRL6H74JB****
                                                                    8   Summary of Complaint
                                                                        Tailgate controller issue. 2018 Honda Odyssey: A day after a day of rain, we went out
                                                                    9   shopping and stopped at a store. Getting out , we saw "Tailgate Controller Problem"
                                                                        message appear on the dashboard. I tried to open/close the tailgate but it just kept
                                                                   10   latching and unlatching. I was finally able to get it to remain closed by pushing on the
                                                                        tailgate. After heading to another store, saw a "high-beam problem" message, and
                                                                   11   another message, so we went home. At night, I noticed the interior ceiling lights going
                                                                        on and off. I went to start the van, and my key fob would not unlock the door. I used
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                                                                   12   the emergency key in the fob and tried opening the drivers door...after 45 seconds of
                                                                        turning left and turning right, the windows rolled down about an inch, then the door
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                                                                   13   unlocked. I started the van and moved it up in the driveway and turned it off, and
                                                                        checked a couple of times all night to see if the lights came back on. The next morning,
                                                                   14   I had to charge the battery because it was at 3Vs. I drove the van to make sure the
                                                                        alternator was working,and then saw messages: blinking "R" for reverse blinking "D"
                                                                   15   and no turn signals, and messages appeared: "Transmission Problem". "Keyless Start
                                                                        System Problem","Blind Spot Info System Problem".We dropped the van off at the
                                                                   16   dealer and it would not lock with the fob, and the center dashboard console (with the
                                                                        navigation menu)remained on with the engine off and door closed. Dealer ordered a
                                                                   17   Tailgate Controller. When we asked the person at the desk, what the issue
                                                                        was..."moisture got in". I told him there is a discussion on the internet about a (design)
                                                                   18   leak in the roof causing this issue. He said, the controller is in the tailgate not in the van.
                                                                        But I know its on the side panel. This situation is very dangerous because a week before
                                                                   19   we had traveled with the van,out of state, on the interstate, trying to get people to
                                                                        airports and if these messages had appeared then, we would have had a very harrowing
                                                                   20   experience. A message is still seen
                                                                   21   NHTSA ID Number: 11558852
                                                                        Incident Date December 2, 2023
                                                                   22   Complaint Date December 6, 2023
                                                                        Consumer Location FRISCO, TX
                                                                   23   Vehicle Identification Number 5FNRL6H71KB****
                                                                        Summary of Complaint
                                                                   24   I am writing to express my deep concern regarding the significant reliability issues I
                                                                        have encountered with my 2019 Honda Odyssey. Unfortunately, these issues have led
                                                                   25   to inconveniences, unexpected expenses, and a reevaluation of my trust in the vehicle's
                                                                        long-term dependability. During the warranty period, the vehicle suffered from water
                                                                   26   infiltration in the trunk, resulting in flooding. Addressing this problem required multiple
                                                                        interventions by the dealership. Post-warranty, an electrical/electronic component
                                                                   27   related to the liftgate module malfunctioned, leading to an unforeseen repair that cost
                                                                        upwards of $800+. Subsequently, the vehicle experienced recurring starting problems,
                                                                   28   necessitating jump-starts on multiple occasions. Most recently, a complete failure to

                                                                                                               28
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                                                                    1   start occurred, requiring towing to the dealership, which unfortunately happened while
                                                                        away from home. Extensive diagnostics revealed the necessity to reprogram the BCM
                                                                    2   (Body Control Module) to resolve the issue. The repetitive and varied nature of these
                                                                        issues, especially for a four-year-old vehicle, raises concerns about the reliability and
                                                                    3   quality standards associated with the Honda Odyssey. These recurring inconveniences
                                                                        and unexpected expenses have compelled me to reconsider recommending this vehicle
                                                                    4   to friends and family. Of particular concern is the possibility of experiencing a
                                                                        breakdown in remote areas during extended trips. The prospect of being stranded with
                                                                    5   my family in such situations is troubling and potentially unsafe. Urgent attention to
                                                                        resolving these issues is crucial to avoid any untoward incidents for myself or other
                                                                    6   Odyssey owners. While I have raised my concerns with Honda, I am also contemplating
                                                                        sharing this experience with the NHTSA. The uncertainty surrounding potential future
                                                                    7   issues while driving has led me to consider selling this vehicle. I believe it's essential to
                                                                        document these concerns for the safety and awareness of others who might face similar
                                                                    8   situations.
                                                                    9   NHTSA ID Number: 11560655
                                                                        Incident Date November 28, 2023
                                                                   10   December 18, 2023
                                                                        Consumer Location TACOMA, WA
                                                                   11   Vehicle Identification Number 5FNRL6H70KB****
                                                                        Summary of Complaint
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                                                                   12   My power tailgate control unit is fried due to a leak in rear driver side.
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                                                                   13   NHTSA ID Number: 11561397
                                                                        Incident Date December 11, 2023
                                                                   14   Complaint Date December 21, 2023
                                                                        Consumer Location OVIEDO, FL
                                                                   15   Vehicle Identification Number 5FNRL6H89MB****
                                                                        Summary of Complaint
                                                                   16   All of the safety system and efficiency systems had failures which made us take to our
                                                                        local Honda dealership for evaluation. After the first visit we were told that they could
                                                                   17   not find the problem, although they saw all of the error messages. The error messages
                                                                        appeared again 3 days later so we took it back to our local Honda dealership. This time
                                                                   18   one of the service reps had seen that problem before and said it probably was due to
                                                                        water entering the rear trunk circuit board controller and shorting out the connections.
                                                                   19   This was confirmed by a service tech during the 2nd evaluation. After research this is
                                                                        apparently a common issue. We had to pay approximately $700 to fix the situation
                                                                   20   because Honda does not have this issue as a recall. We believe this is a clear design
                                                                        error that allows water to enter the circuit board housing. This created a dangerous
                                                                   21   situation as the head lamps as well as the driver safety features and direction signals
                                                                        intermittenly worked due to the shorted out circuit board.
                                                                   22
                                                                        NHTSA ID Number: 11563196
                                                                   23   Incident Date December 26, 2023
                                                                        Complaint Date January 2, 2024
                                                                   24   Consumer Location GERMANTOWN, MD
                                                                        Vehicle Identification Number 5FNRL6H77KB****
                                                                   25   Summary of Complaint
                                                                        Rear lift gate ceased operating, unlocking or opening. Later received errors on dash for
                                                                   26   blind spot malfunction and transmission error. Dealer says it is an issue with water
                                                                        leaking into the rear chassis getting into the exposed electronics.
                                                                   27
                                                                        NHTSA ID Number: 11563419
                                                                   28   Incident Date December 27, 2023

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                                                                                                   CLASS ACTION COMPLAINT
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                                                                    1   Complaint Date January 3, 2024
                                                                        Consumer Location Unknown
                                                                    2   Vehicle Identification Number 5FNRL6H71LB****
                                                                        Summary of Complaint
                                                                    3   In my area, there has been lots of heavy rain. There was a water leak on the interior rear
                                                                        driver side, causing the tailgate control module (TCM) to fail part # 74970-THR-A12
                                                                    4   The tailgate trunk or 5th door is not working, will not open, will not activate. I took my
                                                                        2020 honda odyssey my local dealership but no help. Many vans from Honda, years
                                                                    5   2018-2021 are having this very same issue. Please help Me resolved this matter. Honda
                                                                        should have a recall on this and replace at no charge.
                                                                    6
                                                                        NHTSA ID Number: 11563377
                                                                    7   Incident Date December 27, 2023
                                                                        Complaint Date January 3, 2024
                                                                    8   Consumer Location Unknown
                                                                        Vehicle Identification Number 5FNRL6H75KB****
                                                                    9   Summary of Complaint
                                                                        Power tailgate problem repeatedly flashed on dashboard but would disappear before it
                                                                   10   was legible and the car was beeping while driving. We stopped and tried to see what
                                                                        the problem was but it wasn’t until we finally arrived home that it finally showed the
                                                                   11   full error on the screen. Apparently this drained the battery as well and we had to call
                                                                        AAA the following day to start the vehicle. They tested the battery which was only 2
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                                                                   12   years old (OEM battery died after only 2 years) and said it was fine. Drive around for
                                                                        40 minutes and the next day it was dead again. Had it towed to the dealer who after
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                                                                   13   much discussion agreed to replace the battery even though I read online about people
                                                                        having issues with water leaking onto the power tailgate module. The dealer told Me
                                                                   14   they had to replace the battery instead and the next day called to say that I was right,
                                                                        the battery replacement didn’t solve it. And when they looked at the power tail get
                                                                   15   module it was indeed corroded from moisture. But they wanted an additional $500 so
                                                                        they could subcontract to an “expert” who could seal that leak. I told them to only
                                                                   16   replace the module and asked why a recall hadn’t been issued. They said this was
                                                                        beyond their pay grade. I told them I’ll find a way to seal it myself.
                                                                   17
                                                                        NHTSA ID Number: 11563361
                                                                   18   Incident Date December 28, 2023
                                                                        Complaint Date January 3, 2024
                                                                   19   Consumer Location BOYCE, LA
                                                                        Vehicle Identification Number 5FNRL6H7XJB****
                                                                   20   Summary of Complaint
                                                                        Power Tailgate failure, from water leaking into the vehicle. The power tailgate would
                                                                   21   open and close on its own, even when driving down the road. This is a SERIOUS safety
                                                                        issue if you have children in the vehicle. First sign of failure was a message of tailgate
                                                                   22   problem on the information center of the dash. That is when the intermittent opening
                                                                        and closing began, as well as battery going dead. Took to Honda to be serviced(Walker
                                                                   23   Honda in Alexandria, Louisiana). Was informed that water did indeed leak into the van
                                                                        from someplace, they did not know from where. Was told van needed a new battery as
                                                                   24   well as a module replacement for the power tailgate and a Water test to see where the
                                                                        water was leaking in. Total cost of around $1600 Was then informed that the entire
                                                                   25   wiring harness might also need to be replaced because water corroded or damaged the
                                                                        contacts on the harness that affect MANY other parts of the van, including some safety
                                                                   26   systems. That was an estimated cost of $7000 but was told the technician could possibly
                                                                        just clean off the wiring harness contacts and try to drive it that way and see if it fixes
                                                                   27   the problem. Van has little over 130,000 miles on it and Power Tailgate is rarely used
                                                                        as we have no children and don't haul much, except groceries.
                                                                   28
                                                                                                              30
                                                                                                   CLASS ACTION COMPLAINT
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                                                                    1
                                                                        NHTSA ID Number: 11565233
                                                                    2   Incident Date January 3, 2024
                                                                        Complaint Date January 12, 204
                                                                    3   Consumer Location CALABASAS, CA
                                                                        Vehicle Identification Number 5FNRL6H78KB****
                                                                    4   Summary of Complaint
                                                                        Trunk is not properly sealed resulting in water getting into the trunk and corroding the
                                                                    5   tailgate control unit, this issue has been reported online hundreds of times. A week after
                                                                        my trunk flooded during heavy rain my car warning lights for the brake system, lane
                                                                    6   keep assist and several others lit up and wont work, the lights turn on and off
                                                                        intermittently - again this issue is being reported online by multiple owners. This is a
                                                                    7   known issue Honda refuses to acknowledge or resolve.
                                                                    8   NHTSA ID Number: 11565805
                                                                        Incident Date January 12, 2024
                                                                    9   Complaint Date January 16, 2024
                                                                        Consumer Location MOUNT HOLLY, NC
                                                                   10   Vehicle Identification Number 5FNRL6H79LB****
                                                                        Summary of Complaint
                                                                   11   There is a water leak in the factory seals of the rear tailgate which causes the Power
                                                                        Tailgate Control Module to fail. The tail gate can no longer be closed/latched and
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                                                                   12   requires replacement and sealing of the water leak.
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                                                                   13   NHTSA ID Number: 11566120
                                                                        Incident Date January 10, 2024
                                                                   14   Complaint Date January 17, 2024
                                                                        Consumer Location OXFORD, PA
                                                                   15   Vehicle Identification Number 5FNRL6H77KB****
                                                                        Summary of Complaint
                                                                   16   Power tailgate began to malfunction first by opening slowly or not opening at all. Once
                                                                        open, would not close automatically. Would require a lot of manual force. Then, a
                                                                   17   "Power Tailgate Problem" error began to show on the dashboard. We took it to our local
                                                                        mechanic within about a week's time. They found the following 9 electrical codes:
                                                                   18   Power Tailgate Control Unit Internal Error Power Tailgate Right Touch / Pinch Sensor
                                                                        Circuit Malfunction Power Tailgate Left Touch / Pinch Sensor Circuit Malfunction
                                                                   19   Tailgate Closer Unit Half Latch Switch Circuit Malfunction Power Tailgate Sensor
                                                                        Pulse "A" Circuit Malfunction Power Tailgate Sensor Pulse "B" Circuit Malfunction
                                                                   20   Power Tailgate Drive Motor Circuit Malfunction Left Power Sliding Door Touch /
                                                                        Pinch Sensor Signal Error Left Power Sliding Door Touch / Pinch Sensor Signal Error
                                                                   21   They then found that the water was on/in the Power Liftgate Control Unit stemming
                                                                        from a leak somewhere in the body, probably around the D pillar. The Power Liftgate
                                                                   22   Control Unit will be replaced. The local mechanic recommended contacting Honda or
                                                                        a body shop to find the location where the water is entering the car.
                                                                   23
                                                                        NHTSA ID Number: 11566344
                                                                   24   Incident Date August 11, 2023
                                                                        Complaint Date January 18, 2024
                                                                   25   Consumer Location TAMPA, FL
                                                                        Vehicle Identification Number 5FNRL6H73KB****
                                                                   26   Summary of Complaint
                                                                        Water leaked through the roof causing the tailgate motor to fail. There are separations
                                                                   27   in the body seams above the tailgate. The vehicle has not been an accident.
                                                                   28   NHTSA ID Number: 11566712

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                                                                                                   CLASS ACTION COMPLAINT
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                                                                    1   Incident Date December 1, 2023
                                                                        Complaint Date January 20, 2024
                                                                    2   Consumer Location HOUSTON, TX
                                                                        Vehicle Identification Number 5FNRL6H76KB****
                                                                    3   Summary of Complaint
                                                                        A faulty body seam seal allowed rain to enter the body of the vehicle and infiltrate the
                                                                    4   power tailgate control module. On my vehicle, this produced the error message
                                                                        "Tailgate Problem". The tailgate would fail to open, open part way and then close, or
                                                                    5   attempt to open at random. There have been reports of tailgates opening while driving
                                                                        as a result of this problem. My dealer replaced the tailgate module and re-sealed the
                                                                    6   body seam where water was entering. This seam is where the top and side panels of the
                                                                        vehicle join near the driver's side tailgate hinge. This is a manufacturing defect in the
                                                                    7   body seam seal that is allowing this to happen. The problem has been extensively
                                                                        documented by vehicle owners at [XXX] This unsafe driving condition should be
                                                                    8   subject to a recall to prevent anyone's tailgate from opening unexpectedly while
                                                                        operating the vehicle, creating a hazardous condition for occupants or for other
                                                                    9   motorists who might be affected by items falling out of the rear tailgate.
                                                                        INFORMATION REDACTED PURSUANT TO THE FREEDOM OF
                                                                   10   INFORMATION ACT (FOIA), 5 U.S.C. 552(B)(6)
                                                                   11   NHTSA ID Number: 11568068
                                                                        Incident Date December 30, 2023
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                                                                   12   Complaint Date January 26, 2024
                                                                        Consumer Location CASTLE HAYNE, NC
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                                                                   13   Vehicle Identification Number 5FNRL6H77JB****
                                                                        Summary of Complaint
                                                                   14   The power tailgate control module failed due to water leaking through holes in the seam.
                                                                        The power tailgate problem light came on when the issues began. I was unable to open
                                                                   15   the tailgate using the button by the driver's controls, the remote fob, or the exterior
                                                                        button on the tailgate. The only way to open the tailgate was the manual release on the
                                                                   16   interior tailgate. There was constant beeping while driving forward or in reverse. We
                                                                        removed the power tailgate control module, and there was obvious corrosion around the
                                                                   17   entire part. We applied seam sealer on the driver side roof rail and installed a new ptg
                                                                        control module. The new module began having similar issues approximately 2 weeks
                                                                   18   later. We removed it, and could see obvious corrosion beginning on one side of the ptg
                                                                        control module. We applied seam sealer above the rear tailgate window and attempted
                                                                   19   to clean the affected areas on the ptg control module in hopes that it will work again.
                                                                        The power function of the tailgate is not working, but the power tailgate problem light
                                                                   20   is not on and there is no beeping. I am now able to open the tailgate manually using the
                                                                        exterior button on the tailgate. Driver's control button, remote fob button, and button on
                                                                   21   the tailgate to close it do not work.
                                                                   22   NHTSA ID Number: 11568060
                                                                        Incident Date January 26, 2024
                                                                   23   Complaint Date January 26, 2024
                                                                        Consumer Location TAUNTON, MA
                                                                   24   Vehicle Identification Number 5FNRL6H7XJB****
                                                                        Summary of Complaint
                                                                   25   POWER LIFT GATE AND POWER SLIDING MINIVAN DOOR DO NOT WORK
                                                                        LEAK IN BODY CAUSED ELECTRICAL SHORT AND CORROSON OF
                                                                   26   LIFTGATE POWER CONTROL UNIT. BAD DESIGN SAFETY ISSUE. DANGER
                                                                        OF CHILD ENTRAPMENT. SHOULD BE RECALL AND HONDA SHOULD FIX
                                                                   27
                                                                   28
                                                                                                             32
                                                                                                  CLASS ACTION COMPLAINT
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                                                                    1   NHTSA ID Number: 11568287
                                                                        Incident Date January 25, 2024
                                                                    2   Complaint Date January 28, 2024
                                                                        Consumer Location HOT SPRINGS NATIONAL PARK, AR
                                                                    3   Vehicle Identification Number 5FNRL6H73JB****
                                                                        Summary of Complaint
                                                                    4   Power tailgate problem. Middle both passenger side door did not latch. Power tailgate
                                                                        cannot open automatically. It happened recently, and happened every year as far as I
                                                                    5   remember, when raining season, or winter time. It just happened few days ago.
                                                                        Passenger side door did not latch. I was driving with baby in car seat, on freeway, when
                                                                    6   door latch did not lock properly. My wife had this incident as well, and called Honda
                                                                        dealer, and they may or may not repaired the latch, and we rarely have this incident
                                                                    7   anymore after my wife called Honda dealer, cause she freaked out door was open
                                                                        loosely while driving. But on left side, occasionally cannot open or closed, not as
                                                                    8   extreme as before we complained to dealer.
                                                                    9   NHTSA ID Number: 11568464
                                                                        Incident Date January 26, 2024
                                                                   10   Complaint Date January 29, 2024
                                                                        Consumer Location KANNAPOLIS, NC
                                                                   11   Vehicle Identification Number 5FNRL6H71JB****
                                                                        Summary of Complaint
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                                                                   12   2018 Honda Odyssey motorized tailgate has completely stopped working. Will not
                                                                        open. Numerous accounts say this is due to water getting into the rear tailgate control
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                                                                   13   module and have had tremendous amount of rain this week. Have not had it looked at
                                                                        by dealer yet but must be fixed. Warning message appeared twice on dash 10 minutes
                                                                   14   before the failure.
                                                                   15   NHTSA ID Number: 11568412
                                                                        Incident Date January 3, 2024
                                                                   16   Complaint Date January 29, 2024
                                                                        Consumer Location JACKSON, SC
                                                                   17   Vehicle Identification Number 5FNRL6H70JB****
                                                                        Summary of Complaint
                                                                   18   Dash displays error message "Power Tailgate Problem". Tailgate does not open AT
                                                                        ALL with either of the following methods- key fob, button on dash, or button on
                                                                   19   tailgate. It is stuck and poses a significant safety issue. What if we had a accident, all
                                                                        doors were stuck, and needed an exit out the back of the vehicle? The tailgate is totally
                                                                   20   inoperable and Honda needs to fix this issue as it is an extremely common issue and not
                                                                        very cheap to repair.
                                                                   21
                                                                   22   February 6, 2024 NHTSA ID NUMBER: 11570351
                                                                        Components: ELECTRICAL SYSTEM
                                                                   23   NHTSA ID Number: 11570351
                                                                        Incident Date January 5, 2024
                                                                   24   Complaint Date February 6, 2024
                                                                        Consumer Location NEW PALTZ, NY
                                                                   25   Vehicle Identification Number 5FNRL6H78JB****
                                                                        Summary of Complaint
                                                                   26   A defective/leaking seal in the rear of the vehicle area caused water damage and
                                                                        corrosion on the tailgate control unit. As a result of the control unit failure the blinkers
                                                                   27   and lights stopped working while driving. In addition rear tailgate does not open. Dealer
                                                                        confirmed the issue, fixed the seal and replaced control unit. Research shows this is a
                                                                   28   recurring problem on this model vehicle.

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                                                                    1   NHTSA ID Number: 11571861
                                                                        Complaint Date February 14, 2024
                                                                    2   Incident Date February 12, 2024
                                                                        Consumer Location VIRGINIA BEACH, VA
                                                                    3   Vehicle Identification Number 5FNRL6H79JB****
                                                                        Summary of Complaint
                                                                    4   The rear lift gate is not opening. The lift gate motor and latch have been replaced. The
                                                                        lift gate module seems to have water/moisture after a rain storm causing the gate to not
                                                                    5   open. Their is an error on the display saying there is a lift gate error and the car is
                                                                        beeping while driving.
                                                                    6
                                                                        NHTSA ID Number: 11574361
                                                                    7   Incident Date January 3, 2024
                                                                        Complaint Date February 26, 2024
                                                                    8   Consumer Location Unknown
                                                                        Vehicle Identification Number 5FNRL6H71JB****
                                                                    9   Summary of Complaint
                                                                        Rear tail gate hatch Anytime it rains the hatch will open and faults out which ultimately
                                                                   10   causing it to not close or open tailgate fault shows up on the dash and does not function
                                                                        anymore do to water collecting in electrical module that controls hatch due to faulty
                                                                   11   design
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                                                                   12   NHTSA ID Number: 11575085
                                                                        Incident Date March 2, 2024
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                                                                   13   Complaint Date March 2, 2024
                                                                        Consumer Location Unknown
                                                                   14   Vehicle Identification Number 5FNRL6H71JB****
                                                                        Summary of Complaint
                                                                   15   Rear tail gate will not open even manually due to water getting inside of control module
                                                                        due to faulty design which causes water to go into the module and fry it would open and
                                                                   16   close randomly when it would rain now it has stopped working all together no indicator
                                                                        on dash anymore I guess this last rain finished it off terrible design very disappointing
                                                                   17   with Honda this is a major issue that needs to be fixed
                                                                   18   NHTSA ID Number: 11575401
                                                                        Incident Date February 13, 2024
                                                                   19   Complaint Date March 4, 2024
                                                                        Consumer Location LOWGAP, NC
                                                                   20   Vehicle Identification Number 5FNRL6H70KB****
                                                                        Summary of Complaint
                                                                   21   My Honda odyssey 2019 started with issues turning all bunch of light in the dash, the
                                                                        brake system light, the road departure mitigation system light, keyless remote not
                                                                   22   working properly had to press 2 times to turn on or off, battery will drain and not work
                                                                        properly. The keyless fob will not unlock the car, the back sliding doors would not open
                                                                   23   at all. My car left me 2 times and I had to call geico for road assistance. I took it to the
                                                                        closest dealer to get it checked they tought it was the battery so we had warranty on it
                                                                   24   and they replaced it. They tought the problem was fix but again all lights came back
                                                                        again. This happened 3 times in the nissan dealer. This past month and a half I have
                                                                   25   being dealing with my vehicle. So this weekend we decided to take it to the Honda
                                                                        dealer that's 1hr away from my home, with all the lights on again, scare that she would
                                                                   26   turn off on the highway. No turn light signals working, no hazard lights working either.
                                                                        Finally today I got an answer from the dealer they said that the cars tailgate left side
                                                                   27   factory seal, that's like a rubber its falling off little by little and it messed up the
                                                                        computer that's next to the back left panel of the driver side. They say that this is wear
                                                                   28   but I have heard of too many vehicles being damage on the same spot and it starts with

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                                                                    1   the tailgate. They want to charge me $673.89 to replace the tailgate control unit and that
                                                                        if that didn't fix the problem that I had to rewired the vehicle again and that was going
                                                                    2   to be be $4790.78. I would love to see Honda to do a recall on this, this is something
                                                                        that has to do with factory issue,I don't think owners should pay for something wrong
                                                                    3   they are doing while building this mini vans. I have warranty on the vehicle and they
                                                                        are saying that would not cover the repair because its a water damage. This keeps
                                                                    4   happening to almost all the Honda mini vans. Pls do the search and you will see many
                                                                        people complaining about it. Thank you!
                                                                    5
                                                                        NHTSA ID Number: 11575964
                                                                    6   Incident Date March 6, 2024
                                                                        Complaint Date March 7, 2024
                                                                    7   Consumer Location METUCHEN, NJ
                                                                        Vehicle Identification Number 5FNRL6H75JB****
                                                                    8   Summary of Complaint
                                                                        Hello, my name is [XXX] . I have a 2018 Honda Odyssey that I bought brand new 6
                                                                    9   years ago from Open Road Honda in Edison, New Jersey. We received a notification of
                                                                        the tailgate malfunctioning out of the blue yesterday evening. It was raining the whole
                                                                   10   day yesterday. Upon checking the internet, we found this to be an issue faced by
                                                                        multiple Honda Odyssey owners and a dedicated thread discussing this in the Honda
                                                                   11   Odyssey Forum. Link to it is here: [XXX] After doing a little bit more research, we
                                                                        found a potential problem to be a malfunction due to water going into power tailgate
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                                                                   12   module and this could be caused by some welding defects from Honda. We decided to
                                                                        remove the fusebox cover in the back left of the car (driver side) and found that there
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                                                                   13   was water inside. We have sent the car to our mechanic to resolve the issue. Please see
                                                                        pictures and video attached for your review. This also has the VIN number for our car.
                                                                   14   But, since this seems to be a manufacturing defect and it is going to cost a lot to fix, we
                                                                        would appreciate Honda taking action on this. We would like to take this to a dealership
                                                                   15   for issue resolution with Honda facilitating and paying for the repairs since it is a
                                                                        manufacturing defect. Please advise us on next steps. Thanks, [XXX] INFORMATION
                                                                   16   REDACTED PURSUANT TO THE FREEDOM OF INFORMATION ACT (FOIA), 5
                                                                        U.S.C. 552(B)(6)
                                                                   17
                                                                        NHTSA ID Number: 11576494
                                                                   18   Incident Date March 5, 2024
                                                                        Complaint Date March 10, 2024
                                                                   19   Consumer Location SENOIA, GA
                                                                        Vehicle Identification Number 5FNRL6H77JB****
                                                                   20   Summary of Complaint
                                                                        There is an electrical drain causing the battery to drain to the point where it will not
                                                                   21   start. Alternator was replaced, then the issue persisted. Most recent problem include the
                                                                        power tailgate opening on its own. Rear power tailgate issue. The rear tailgate will
                                                                   22   attempt to open while driving, but the warning sound chimes and alerts to the problem.
                                                                        If the vehicle is left unlocked the tailgate will open itself. The power tailgate button in
                                                                   23   the driver seat does not work. The close button on the bottom of the door is illuminated
                                                                        (has power) but will not close the door. The soft rubber button above the license plate
                                                                   24   will engage the motor to lift the tailgate, but not to close it. Others have filed complaints
                                                                        about a water leak impacting the rear control board and causing it to fail. Leak may be
                                                                   25   from the fin on the roof or related to the cracking and rotting seal on the bottom of the
                                                                        rear windshield.
                                                                   26
                                                                        NHTSA ID Number: 11576998
                                                                   27   Incident Date January 26, 2024
                                                                        Complaint Date March 12, 2024
                                                                   28   Consumer Location PORTLAND, OR

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                                                                                                   CLASS ACTION COMPLAINT
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                                                                    1   Vehicle Identification Number 5FNRL6H58JB****
                                                                        Summary of Complaint
                                                                    2   Our Tailgate is having an issue that triggered a safety issue with my wife driving on a
                                                                        highway then 3 lights popped up and car entered a limp mode. transmission issue,
                                                                    3   emissions issue, tailgate issue since then car is behaving normally but the tailgate latch
                                                                        is opening when we start the van and not working from fob (unlock) or exterior tailgate
                                                                    4   button. I have read other owners having an issue where the tailgate control module is
                                                                        getting submerged by water causing the unit to short and cause these issues. A car
                                                                    5   entering limp mode on the highway poses a threat to our family and others, I hope to
                                                                        see a solution in the near future.
                                                                    6
                                                                        NHTSA ID Number: 11577896
                                                                    7   Incident Date March 8, 2024
                                                                        Complaint Date March 17, 2024
                                                                    8   Consumer Location MECHANICSVILLE, VA
                                                                        Vehicle Identification Number 5FNRL6H76JB****
                                                                    9   Summary of Complaint
                                                                        A water leak above the tailgate control module flooded it to the point that it operated
                                                                   10   erratically and would raise and lower the tailgate randomly or not work at all. I plan on
                                                                        replacing the module myself but will retain the old one. Anytime the entry or exit points
                                                                   11   on a vehicle open randomly cannot be a safe condition. The dealer charges $130 for any
                                                                        inspection or diagnostic so no I am not paying them to tell me something is broken. The
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                                                                   12   vehicle currently is showing a "Power Tailgate Problem" and a yellow box with
                                                                        "TAILGATE" in it on the dash display and is currently unresponsive to any input that
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                                                                   13   would operate it: remote, tailgate buttons, and driver button. The power locking system
                                                                        is still operable. The Odyessy forums clearly describe multiple occurrences of this
                                                                   14   failure and the culprit is a water leak in rear window or rear section of roof trim strip on
                                                                        the drivers side. My module did have water in it when I opened the plastic case it is
                                                                   15   contained in. Cleaning and drying it restored operation for about 3 days. Thanks for
                                                                        your help!
                                                                   16
                                                                   17   NHTSA ID Number: 11578780
                                                                        Incident Date March 1, 2024
                                                                   18   Complaint Date March 21, 2024
                                                                        Consumer Location GOODYEAR, AZ
                                                                   19   Vehicle Identification Number 5FNRL6H53KB****
                                                                        Summary of Complaint
                                                                   20   Rear tailgate will occasionally pop open while driving for no reason. Often times when
                                                                        parked rear tailgate latch will not open it. Takes several attempts to get it open,
                                                                   21   sometimes have to open another door to get it to work.
                                                                   22   NHTSA ID Number: 11578173
                                                                        Incident Date March 2, 2024
                                                                   23   Complaint Date March 18, 2024
                                                                        Consumer Location GERMANTOWN, MD
                                                                   24   Vehicle Identification Number 5FNRL6H78JB****
                                                                        Summary of Complaint
                                                                   25   After rain, the next day, I get error tailgate problem on my dashboard. I can no longer
                                                                        open it using my remote or from the front panel of my van. I saw many complaints of
                                                                   26   similar issue out there. This should have been a recall due to manufacture failure.
                                                                   27   NHTSA ID Number: 11579605
                                                                        Incident Date February 1, 2024
                                                                   28   Complaint Date March 26, 2024

                                                                                                              36
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                                                                    1   Consumer Location KINGSLEY, PA
                                                                        Vehicle Identification Number 5FNRL6H84JB****
                                                                    2   Summary of Complaint
                                                                        Right Power door will not open or close with buttons or key fob. Must open/close
                                                                    3   manually. The doors are too hard to open manually for smaller children and even some
                                                                        adults making it a safety concern in case of emergency. This started intermittently a
                                                                    4   year ago and is now a constant. Tailgate has been opening and closing on its own, even
                                                                        when locked while parked as well as when the idle stop is activated while in drive. This
                                                                    5   is a concern that someone can get in the vehicle when unattended. It also shuts (and
                                                                        didn't stop) when someone was standing in the opening while removing something
                                                                    6   when it occurred. This started about a month ago. I was told to take it to a dealer and
                                                                        pay them to diagnose it. The dealers have a wait list and it's also not in my budget. These
                                                                    7   are real concerns and I feel Honda isn't taking ownership of the dangers.
                                                                    8   NHTSA ID Number: 11580032
                                                                        Incident Date March 8, 2024
                                                                    9   Complaint Date March 29, 2024
                                                                        Consumer Location HANOVER, MD
                                                                   10   Vehicle Identification Number 5FNRL6H75JB****
                                                                        Summary of Complaint
                                                                   11   Power Tailgate is not functioning and the trunk opens on its own. Yes, available for
                                                                        inspection. The trunk opening on its own puts the safety of everyone in the car at risk.
NYE, STIRLING, HALE, MILLER & SWEET




                                                                   12   I had the same issue 9 months ago, the dealer charged me $1200 to fix it. The dealer
                                                                        inspected it and stated it was due to a water leak that damaged the control module for
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                               33 WEST MISSION STREET, SUITE 201




                                                                   13   the Power Tailgate. Nothing prior, a "Power Tailgate Problem" warning appeared on
                                                                        the dashboard, and the Power Tailgate stopped working.
                                                                   14
                                                                        NHTSA ID Number: 11581763
                                                                   15   Incident Date April 8, 2024
                                                                        Complaint Date April 8, 2024
                                                                   16   Consumer Location TIFFIN, IA
                                                                        Vehicle Identification Number 5FNRL6H78JB****
                                                                   17   Summary of Complaint
                                                                        Water getting into rear liftgate control module. Had to replace seal and module.
                                                                   18
                                                                        NHTSA ID Number: 11582273
                                                                   19   Incident Date April 7, 2024
                                                                        Complaint Date April 11, 2024
                                                                   20   Consumer Location EAU CLAIRE, WI
                                                                        Vehicle Identification Number 5FNRL6H76JB****
                                                                   21   Summary of Complaint
                                                                        Water leaks into tailgate control module causing tailgate not to work. Replaced module,
                                                                   22   problem came back after 3 weeks. This is a common issue for the current generation
                                                                        Odyssey.
                                                                   23
                                                                        NHTSA ID Number: 11582291
                                                                   24   Incident Date April 8, 2024
                                                                        Complaint Date April 11, 2024
                                                                   25   Consumer Location MINNEAPOLIS, MN
                                                                        Vehicle Identification Number 5FNRL6H75JB****
                                                                   26   Summary of Complaint
                                                                        It is available for inspection on request. Lost blindspot info, lost use of turn indicators,
                                                                   27   rear door hatch malfunction, several warnings flash up while driving. I was in a busy
                                                                        area and didn't have a way to signal my movements, screen flashing warnings was
                                                                   28   terrifying, the van felt like it might turn off at any moment. Before the most recent

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                                                                    1   incident, we had brought the van to Honda dealer for repair, for similar issues that
                                                                        occured at start-up, they found water in the power control unit in rear left area of van
                                                                    2   that caused corrosion and short-circuit. No body damage or alterations to vehicle.
                                                                        Replaced unit and after rainy weather problems recurred at start up and power down,
                                                                    3   then while driving, they tested the battery and it was almost dead (the battery was only
                                                                        1 month old) replaced battery. Problems recurred and water found again. significant
                                                                    4   leak suspected but not found yet as the service department won't evaluate the seals, and
                                                                        told us it's a body-shop task. summary: intermittent left-side passenger door and rear
                                                                    5   hatch door malfunction, blind spot system warnings/loss, loss of turn indication, brake
                                                                        system warnings, other system warnings, difficulty starting the car and turning the car
                                                                    6   off, brand new battery drained while the car was parked and turned off. This
                                                                        manufacturing defect should be addressed by Honda, seals should not fail when exposed
                                                                    7   to regular conditions. Water should not enter the vehicle and short out an important
                                                                        component leading to several malfunctions that could cause loss of important systems
                                                                    8   and rear-door latch while driving.
                                                                    9   NHTSA ID Number: 11582804
                                                                        Incident Date April 2, 2024
                                                                   10   Complaint Date April 13, 2024
                                                                        Consumer Location MINNEAPOLIS, MN
                                                                   11   Vehicle Identification Number 5FNRL6H79JB****
                                                                        Summary of Complaint
NYE, STIRLING, HALE, MILLER & SWEET




                                                                   12   power tailgate control module fail due to water a leak in rear driver side area.
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                                                                   13   NHTSA ID Number: 11584161
                                                                        Incident Date April 19, 2024
                                                                   14   Complaint Date April 19, 2024
                                                                        Consumer Location CARMI, IL
                                                                   15   Vehicle Identification Number 5FNRL6H74JB****
                                                                        Summary of Complaint
                                                                   16   There is water leaking through the seams of my Van from where it wasn't welded and
                                                                        sealed properly, My tailgate opened on the highway today while I had my 7 kids in the
                                                                   17   vehicle while it was pouring down rain. I could not get my tailgate to stay closed and
                                                                        keep getting a power tailgate problem on my dashboard. My tailgate will no longer stay
                                                                   18   latched it automatically opens on its own and refuses to stay shut. I looked at the control
                                                                        module and it was completely soaked in water and can see the water leaking from the
                                                                   19   top of my vehicle in between the exterior frame and the interior frame. There are holes
                                                                        in the welding. They're quoting me almost $1000 to fix the mistake they made while
                                                                   20   manufacturing the vehicle. I currently have a bungie chord keeping my tailgate shut but
                                                                        it continously beeps from where it's trying to open automatically. Definitely the scariest
                                                                   21   day of my life today. This needs to be dealt with ASAP. Today could have been much
                                                                        worse than it was. Honda needs to be held accountable before someone dies over this.
                                                                   22   There is no reason why my tailgate should have automatically opened on the highway
                                                                        doing 65mph with my 7 children in the car.
                                                                   23
                                                                        NHTSA ID Number: 11584215
                                                                   24   Incident Date February 12, 2024
                                                                        Complaint Date April 20, 2024
                                                                   25   Consumer Location Unknown
                                                                        Vehicle Identification Number 5FNRL6H71LB****
                                                                   26   Summary of Complaint
                                                                        Power tailgate module exposed to water due to manufacturer defect in sealing above
                                                                   27   module. causing various electrical systems to fail including safety features. I do have
                                                                        the damaged module. Tailgate opened and wouldn’t close, when car in motion. Unable
                                                                   28   to use vehicle, the amount of electric items, due to fear brakes or transmission would

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                                                                    1   fail while driving minivan full of young children Vehicle had warning light shortly after
                                                                        heavy rain. Was intermittent.
                                                                    2
                                                                        NHTSA ID Number: 11585688
                                                                    3   Incident Date March 19, 2024
                                                                        Complaint Date April 28, 2024
                                                                    4   Consumer Location ABINGDON, MD
                                                                        Vehicle Identification Number 5FNRL6H70KB****
                                                                    5   Summary of Complaint
                                                                        The vehicle's tailgate stopped working and a series of distracting alerts repeatedly
                                                                    6   popped up on the instrument panel. Upon inspection, the liftgate control module had a
                                                                        significant amount of corrosion on the pins and on the circuit board itself, despite the
                                                                    7   surrounding area seeming dry. Replacement of the control module did not completely
                                                                        fix the problem because the connector pins are corroded and dirty.
                                                                    8
                                                                        NHTSA ID Number: 11587814
                                                                    9   Incident Date March 29, 2024
                                                                        Complaint Date May 9, 2024
                                                                   10   Consumer Location CARNEGIE, PA
                                                                        Vehicle Identification Number 5FNRL6H75KB****
                                                                   11   Summary of Complaint
                                                                        Water leaked into the back of my van through the plastic molding at the top of the lift
NYE, STIRLING, HALE, MILLER & SWEET




                                                                   12   gate. I was told the water ruined the control module. The part I was told would rrun
                                                                        $850 to replace. I looked the control module online at a gunuine Honda parts catalogue
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                                                                   13   & it's $121. They tell me there is no guarantee that this will work. If it does not, then
                                                                        they recommend the replacement of the rear wiring harness which lists at the same
                                                                   14   Honda parts site fo $2,101.64 but this dealership wants to charge $8,500 plus $900 for
                                                                        new carpeting. Looking at the auto blogs, it seems that this is a recurring issue with the
                                                                   15   2018-2019 Odysseys.
                                                                   16   NHTSA ID Number: 11588416
                                                                        Incident Date May 13, 2024
                                                                   17   Complaint Date May 13, 2024
                                                                        Consumer Location FLEMING ISLAND, FL
                                                                   18   Vehicle Identification Number 5FNRL6H73KB****
                                                                        Summary of Complaint
                                                                   19   What component or system failed or malfunctioned, and is it available for inspection
                                                                        upon request? the tailgate will not open. Yes, I can have it inspected. How was your
                                                                   20   safety or the safety of others put at risk? This limits the ability to use the tailgate. Has
                                                                        the problem been reproduced or confirmed by a dealer or independent service center? I
                                                                   21   have brought the car into the dealership to fix the tailgate. The motor was replaced and
                                                                        they stated they sealed the back to prevent water from getting in. It has since broken
                                                                   22   again and currently it will not open. Has the vehicle or component been inspected by
                                                                        the manufacturer, police, insurance representatives or others? The first time it broke the
                                                                   23   dealership inspected and fixed the problem. It is now broken again and I haven't brought
                                                                        it into the dealership yet. Were there any warning lamps, messages or other symptoms
                                                                   24   of the problem prior to the failure, and when did they first appear? I got a tailgate error
                                                                        multiple times, also the battery was draining really quickly - which I think was due to
                                                                   25   the trunk issue.
                                                                   26   NHTSA ID Number: 11591001
                                                                        Incident Date May 27, 2024
                                                                   27   Complaint Date May 28, 2024
                                                                        Consumer Location FORT MITCHELL, AL
                                                                   28   Vehicle Identification Number 5FNRL6H7XJB****

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                                                                                                   CLASS ACTION COMPLAINT
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                                                                    1   Summary of Complaint
                                                                        Power tailgate issue continues to happen. The module is somehow getting water damage
                                                                    2   and shorting out. This is the second time in a year that I have to replace the module. I
                                                                        can’t even manually open my trunk without having to climb through the car and undo
                                                                    3   the latch from the inside
                                                                    4   NHTSA ID Number: 11592225
                                                                        Incident Date May 28, 2024
                                                                    5   Complaint Date June 3, 2024
                                                                        Consumer Location HAMPTON, VA
                                                                    6   Vehicle Identification Number 5FNRL6H72JB****
                                                                        Summary of Complaint
                                                                    7   The Control Module for the Power Tailgate experienced total failure due to water
                                                                        damage, documented by the servicing dealership (attached service invoice) and
                                                                    8   demonstrated by the attached photos. The point of water intrusion could not be
                                                                        determined definitively, but cracks in the bonding location between the roof, rear
                                                                    9   driver's side exterior D-pillar panel, and tailgate surround are the likely culprit (photos
                                                                        attached). Failure of the Module resulted in an unusable tailgate, except for a single
                                                                   10   manual lever on the inside of the vehicle, accessible behind a piece of plastic. It also
                                                                        resulted in a ceaseless, loud, constant beeping on both the inside and outside of the
                                                                   11   vehicle when traveling at over 1 mph. This vehicle has never experienced an accident.
NYE, STIRLING, HALE, MILLER & SWEET




                                                                   12   NHTSA ID Number: 11593386
                                                                        Incident Date April 12, 2024
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                                                                   13   Complaint Date June 10, 2024
                                                                        Consumer Location BATON ROUGE, LA
                                                                   14   Vehicle Identification Number 5FNRL6H74KB****
                                                                        Summary of Complaint
                                                                   15   A water leak has ruined TWO power liftgate control modules. The water leak probably
                                                                        comes from the roof or driver rear window welds. I replaced one module two months
                                                                   16   ago and the new one has also malfunctioned due to water intrusion. This causes the
                                                                        liftgate to be stuck open or closed and could potentially open when driving!
                                                                   17
                                                                        NHTSA ID Number: 11593412
                                                                   18   Incident Date March 3, 2024
                                                                        Complaint Date June 10, 2024
                                                                   19   Consumer Location SEATTLE, WA
                                                                        Vehicle Identification Number 5FNRL6H76KB****
                                                                   20   Summary of Complaint
                                                                        The issue I am experiencing is a power tailgate control module failure, specifically part#
                                                                   21   74970-THR-A12. The part is located on the driver side rear, and the issue appears to be
                                                                        due to a water leak coming between body seams and slowly dripping down into the
                                                                   22   module. Over time the water damage seeps into the control module casing and causes
                                                                        corrosion on the circuit board. This, then, renders the power tailgate inoperable. In my
                                                                   23   case, it just suddenly stopped working. A couple weeks, while the tailgate still did not
                                                                        work, I did receive a message saying "tailgate open" while I was driving. But, that issue
                                                                   24   went away on its own, and the tailgate didn't appear to actually be open. It is unclear if
                                                                        this type of electrical failure could also cause a tailgate to open unexpectedly while
                                                                   25   driving. Looking up this issue online, it appears that many other Odyssey owners have
                                                                        experienced the exact same issue (water leak and corrosion on control module). This
                                                                   26   should be considered for a recall given that so many drivers have experienced the exact
                                                                        same issues under the exact same circumstances. It seems like the issue could be solved
                                                                   27   by simply determine where the leak is occurring from. While my Odyssey is still under
                                                                        an extended warranty, the dealer charges to perform a diagnostic do not make it
                                                                   28   worthwhile for me to have them determine if it is covered, and I will choose to replace

                                                                                                              40
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                                                                    1   the part on my own. Below I have attached 4 photos showing my specific circuit board
                                                                        with water damage, plus the area in which the control module sits in the car, where you
                                                                    2   can see rust due to water seepage. I also experienced rapid and sudden battery drain in
                                                                        the past, and others in the forums that experienced this tailgate issue have also noted
                                                                    3   that they believe it may be related. Even after I replace the part, I am afraid of the issue
                                                                        reoccurring and/or the water leaks creating additional electrical problems in the car.
                                                                    4
                                                                        NHTSA ID Number: 11593819
                                                                    5   Incident Date June 10, 2024
                                                                        Complaint Date June 12, 2024
                                                                    6   Consumer Location VIRGINIA BEACH, VA
                                                                        Vehicle Identification Number 5FNRL6H71JB****
                                                                    7   Summary of Complaint
                                                                        Water intrusion is causing failure of my liftgate module. The maintenance shop has
                                                                    8   identified this as the issue. After doing some research, this appears to no be a one time
                                                                        situation as i have read of several other owners experiencing the same issue. Lift gate
                                                                    9   is not opening and potential of liftgate opening uncommand due to module failure.
                                                                   10   NHTSA ID Number: 11594385
                                                                        Incident Date June 14, 2024
                                                                   11   Complaint Date June 14, 2024
                                                                        Consumer Location PALM SPRINGS, FL
NYE, STIRLING, HALE, MILLER & SWEET




                                                                   12   Vehicle Identification Number 5FNRL6H77JB****
                                                                        Summary of Complaint
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                                                                   13   The Control Module for the Power Tailgate experienced total failure due to water
                                                                        damage, documented by the servicing dealership (attached service invoice) and
                                                                   14   demonstrated by the attached photos. The point of water intrusion could not be
                                                                        determined definitively, but cracks in the bonding location between the roof, rear
                                                                   15   driver's side exterior D-pillar panel, and tailgate surround are the likely culprit (photos
                                                                        attached). Failure of the Module resulted in an unusable tailgate, except for a single
                                                                   16   manual lever on the inside of the vehicle, accessible behind a piece of plastic. It also
                                                                        resulted in a ceaseless, loud, constant beeping on both the inside and outside of the
                                                                   17   vehicle when traveling at over 1 mph. This vehicle has never experienced an accident.
                                                                   18   NHTSA ID Number: 11597496
                                                                        Incident Date June 22, 2024
                                                                   19   Complaint Date June 28, 2024
                                                                        Consumer Location LOXAHATCHEE, FL
                                                                   20   Vehicle Identification Number 5FNRL6H71JB****
                                                                        Summary of Complaint
                                                                   21   During my recent recall repair by Ed Morse Honda in Riviera Beach, FL, I was advised
                                                                        that the rear tailgate sensor was reported as "wet". I do the maintenance myself, so I
                                                                   22   passed on a repair at that time by the dealer. Today, I researched what might have failed
                                                                        both online and with my Alldatadiy subscription, and accessed the part. Indeed, the
                                                                   23   Liftgate Control Module was molded and need of repair/ replace. However, I have
                                                                        grandchildren now, and during the removal - realized that in a water accident or other
                                                                   24   hazard where power is lost, there is NO WAY for rear passengers to exit the van by the
                                                                        rear tailgate. There is NO readily accessible latch or pull to open the tailgate from the
                                                                   25   inside, and NO key nor latch available from the outside for outside assistance.
                                                                        Additionally, if a child is in need of exiting the rear tailgate, there is NO child safety
                                                                   26   pull to allow them to exit. During my research on how to repair the vehicle, I saw that
                                                                        this is an ongoing issue for this model of Honda. I like my 2018 Honda Odyssey very
                                                                   27   much, it is my second Odyssey (the first was totaled in a T-bone accident, where both
                                                                        wife and daughter walked away), but I believe a recall is needed for the water issue
                                                                   28   affecting the Tailgate Control Board for the short term, and safety mechanisms added

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                                                                    1   for the long term. Note: I have images, but the web site is NOT allowing uploads of any
                                                                        .jpg nor .pdf's at this time.
                                                                    2
                                                                        NHTSA ID Number: 11603270
                                                                    3   Incident Date July 18, 2024
                                                                        Complaint Date July 18, 2024
                                                                    4   Consumer Location WARNER ROBINS, GA
                                                                        Vehicle Identification Number 5FNRL6H79KB****
                                                                    5   Summary of Complaint
                                                                        The power tailgate would open, then after opening, the tailgate may slowly sag down.
                                                                    6   Then it automatically closes within seconds. When going down to close, it beeps loudly.
                                                                    7   NHTSA ID Number: 11604132
                                                                        Incident Date July 18, 2024
                                                                    8   Complaint Date July 23, 2024
                                                                        Consumer Location FREEPORT, FL
                                                                    9   Vehicle Identification Number 5FNRL6H7XJB****
                                                                        Summary of Complaint
                                                                   10   Vehicle stalls when pulling out into traffic! Terrifying with my 6 kids and I'm
                                                                        immediately getting rid of this vehicle. Tried to have the fuel pump (current recall)
                                                                   11   replaced but Honda dealership has the vehicle for 6 DAYS! and still didn't have the part
                                                                        in. Upon dropping the vehicle off the tailgate lift would not work properly. This van is
NYE, STIRLING, HALE, MILLER & SWEET




                                                                   12   a load of garbage since they started using so many modules to control it! Extremely
                                                                        disappointed in Honda. They know all of these faulty parts and don't care enough to fix
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                                                                   13   them for the safety of the consumer. Absolutely horrifying the direction of the
                                                                        automobile industry
                                                                   14
                                                                        NHTSA ID Number: 11604172
                                                                   15   Incident Date July 23, 2024
                                                                        Complaint Date July 23, 2024
                                                                   16   Consumer Location JONESBORO, GA
                                                                        Vehicle Identification Number 5FNRL6H78JB****
                                                                   17   Summary of Complaint
                                                                        Tailgate malfunction due to water seeping through tailgate resulting in tailgate module
                                                                   18   to stop working.
                                                                   19   NHTSA ID Number: 11606778
                                                                        Incident Date July 29, 2024
                                                                   20   Complaint Date August 6, 2024
                                                                        Consumer Location AUTRYVILLE, NC
                                                                   21   Vehicle Identification Number 5FNRL6H72JB****
                                                                        Summary of Complaint
                                                                   22   Initial issue was that the power tailgate would not open at all. Took the vehicle to the
                                                                        dealership where they replaced the latch and the control unit that was completely fried.
                                                                   23   When I asked what could cause that, they said they didn't know. I already suspected
                                                                        water. Two days after picking the vehicle up from the dealership, the tailgate is now
                                                                   24   constantly opening and closing on its own. The only way to stop it is to turn off the
                                                                        vehicle and lock it. I searched online and found multiple posts from people with the
                                                                   25   exact same problem and almost all of them say it was water getting into the control unit.
                                                                        This poses an obvious safety concern since it could close on one of my kids. They would
                                                                   26   not be strong enough to stop it. I have reported the issue to Honda HQ and have
                                                                        recommended that the other people with the issue do the same.
                                                                   27
                                                                        NHTSA ID Number: 11608292
                                                                   28   Incident Date August 12, 2024

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                                                                    1   Complaint Date August 13, 2024
                                                                        Consumer Location ONTARIO, CA
                                                                    2   Vehicle Identification Number 5FNRL6H9XJB****
                                                                        Summary of Complaint
                                                                    3   the right sliding door has had intermittent malfunction for years. often, the door will not
                                                                        work with an automatic function and must be pulled open or closed manually which is
                                                                    4   nearly impossible to accomplish. most often the right sliding door malfunction
                                                                        notification appears when driving at highway speeds which is extremely unsafe. this
                                                                    5   has been inspected by the dealership and no fix or resolution was provided. recently, all
                                                                        of the ADAS systems are intermittently malfunctioning. they work about 1 out of every
                                                                    6   5 times the vehicle turns on LKAS, Auto Braking, Adaptive Cruise Control, are all
                                                                        affected. within the last week the internal camera system has been failing, audio stops
                                                                    7   working, and most importantly the rear hatch has been closing on its own while i am
                                                                        standing underneath it loading the trunk. this is also very unsafe, it atleast beeps to warn
                                                                    8   that it is closing but i sometimes barely have time to get out of the way. yesterday while
                                                                        driving in the highway, two warnings appeared simultaneously for “transmission
                                                                    9   system problem” and “blind spot notification system error”. the vehicle started again
                                                                        without the transmission system or blind spot error but i am very concerned about the
                                                                   10   degrading electrical system issues that i have been experiencing with this family
                                                                        oriented vehicle model.
                                                                   11
                                                                        NHTSA ID Number: 11608694
NYE, STIRLING, HALE, MILLER & SWEET




                                                                   12   Incident Date June 15, 2024
                                                                        Complaint Date August 15, 2024
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                                                                   13   Consumer Location HOUSTON, TX
                                                                        Vehicle Identification Number 5FNRL6H74KB****
                                                                   14   Summary of Complaint
                                                                        It is very common problem with 2018-2023 honda odyssey. Water leaks inside from the
                                                                   15   seam crack under roof drip trim. This water is dripping right on the tailgate control
                                                                        electronic module. And module is short circuit and dead. Now tailgate is either stays
                                                                   16   locked or stays open all the time as the latch is not operating at all. This is safety issue
                                                                        as if tail gate is not latched properly it can be open while driving on the road. Also with
                                                                   17   water leaking inside in trunk area it's a issue with growing mold under the carpet. It
                                                                        shows error message on instrument panel about trouble with tailgate system.
                                                                   18
                                                                        NHTSA ID Number: 11610125
                                                                   19   Incident Date August 22, 2024
                                                                        Complaint Date August 22, 2024
                                                                   20   Consumer Location WELLESLEY, MA
                                                                        Vehicle Identification Number 5FNRL6H93LB****
                                                                   21   Summary of Complaint
                                                                        This model has had a recall of the wire being to short and having faulty connections. I
                                                                   22   have replaced the wires module now 5 times . The last time it got replaced after a couple
                                                                        of months the screen on the car has gone blank and now they tell me the whole computer
                                                                   23   needs to be replaced. No LCD and no backup screen . This is absolutely ridiculous .
                                                                        Anything that can be done this car seems to be a electrical disaster.
                                                                   24
                                                                        NHTSA ID Number: 11610612
                                                                   25   Incident Date August 24, 2024
                                                                        Complaint Date August 24, 2024
                                                                   26   Consumer Location POWELL, OH
                                                                        Vehicle Identification Number 5FNRL6H7XJB****
                                                                   27   Summary of Complaint
                                                                        My trunk was working anymore. I could not even open it manually. I had a shop that
                                                                   28   only works on Acura's and Honda's look at it. The control module for the trunk was wet

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                                                                    1   and fried. I dont understand why it was wet in the first place since it was in seal box.
                                                                        This should be a recall on it. Please see attach pictures. I paid $669 to have them
                                                                    2   replaced it.
                                                                    3   NHTSA ID Number: 11610805
                                                                        Incident Date August 12, 2024
                                                                    4   Complaint Date August 26, 2024
                                                                        Consumer Location IVANHOE, NC
                                                                    5   Vehicle Identification Number 5FNRL6H78JB****
                                                                        Summary of Complaint
                                                                    6   There is a water leak in the body of the van (where the top and side are welded together).
                                                                        The water has caused damage to the electrical panel that controls the back door/liftgate.
                                                                    7   The water damage is also shorting out and causing electrical damage and the battery to
                                                                        die very often. I have noticed many complaints about this. I believe this should be a
                                                                    8   recall because it is a flaw in the making of the vehicle and nothing I could have done to
                                                                        prevent it.
                                                                    9
                                                                        NHTSA ID Number: 11616232
                                                                   10   Incident Date July 27, 2024
                                                                        Complaint Date September 24, 2024
                                                                   11   Consumer Location RICHMOND HILL, NY
                                                                        Vehicle Identification Number 5FNRL6H77JB****
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                                                                   12   Summary of Complaint
                                                                        The tailgate malfunctions and the car does not register the tailgate as closed even if it is
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                                                                   13   closed. The power tailgate ceases to be operational and the locks do not work. The cause
                                                                        is a defect in a seam which allows rain water to reach the control unit for the tailgate.
                                                                   14   This was confirmed after an inspection at an official Honda dealer. This is a safety issue
                                                                        because it renders the car inoperable. The “tailgate open” warning signs and sounds
                                                                   15   flash. There is currently a Honda “Engineering Request for Investigation” released. It
                                                                        can be accessed at the following link: [XXX] INFORMATION REDACTED
                                                                   16   PURSUANT TO THE FREEDOM OF INFORMATION ACT (FOIA), 5 U.S.C.
                                                                        552(B)(6)
                                                                   17
                                                                        NHTSA ID Number: 11616819
                                                                   18   Incident Date September 26, 2024
                                                                        Complaint Date September 27, 2024
                                                                   19   Consumer Location ALLENTOWN, PA
                                                                        Vehicle Identification Number 5FNRL6H74JB****
                                                                   20   Summary of Complaint
                                                                        What component or system failed or malfunctioned, and is it available for inspection
                                                                   21   upon request? TAILGATE STOPPED OPENING AND THEN OPENED
                                                                        UNEXPECTANTLY; VEHICLE IS AVAILABLE FOR INSPECTION How was your
                                                                   22   safety or the safety of others put at risk? TAILGATE OPENED WHILE DRIVING Has
                                                                        the problem been reproduced or confirmed by a dealer or independent service center?
                                                                   23   NO Has the vehicle or component been inspected by the manufacturer, police, insurance
                                                                        representatives or others? NO Were there any warning lamps, messages or other
                                                                   24   symptoms of the problem prior to the failure, and when did they first appear?
                                                                        WARNING ALERT THAT TAILGATE HAD FAILED AND WARNING WENT
                                                                   25   AWAY APPROXIMATELY 12 HOURS BOFORE TAILGATE UNEXPECTANTLY
                                                                        OPENED.
                                                                   26
                                                                        NHTSA ID Number: 11619349
                                                                   27   Incident Date June 1, 2024
                                                                        Complaint Date October 11, 2024
                                                                   28   Consumer Location OLNEY, MD

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                                                                    1   Vehicle Identification Number 5FNRL6H70JB****
                                                                        Summary of Complaint
                                                                    2   Rear tailgate is inoperable because of water damage. The rear driver side seatbelt is wet,
                                                                        the floor of the trunk is wet, the water damaged the control module for the rear tailgate,
                                                                    3   it does not open.
                                                                    4   NHTSA ID Number: 11619636
                                                                        Incident Date December 1, 2022
                                                                    5   Complaint Date October 14, 2024
                                                                        Consumer Location TALLAHASSEE, FL
                                                                    6   Vehicle Identification Number 5FNRL6H78JB****
                                                                        Summary of Complaint
                                                                    7   This Honda Odyssey 2018 model has leak water on rear corner. You have to find out
                                                                        where is leaking and fix it, if you don't fix water leak after you install new control unit
                                                                    8   it will happen again . To find out where is leaking is a major problem. Honda DO NOT
                                                                        recall on it
                                                                    9
                                                                   10         83.    Consumers have not just complained to NHTSA, as the internet is replete
                                                                   11   with other complaints from consumers, many of which detail their interactions with
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                                                                   12   Defendants’ authorized dealerships, and as such, Defendants have actual knowledge of
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                                                                   13   these consumer complaints too.
                                                                   14         84.    On September 2, 2021, a user posted to an Odyssey owner’s forum where
                                                                   15   they recounted their experience with a malfunctioning tailgate on their Class Vehicle.8
                                                                   16   In addition to numerous posters indicating that the root cause was water intrusion, many
                                                                   17   posters stated they brought their Class Vehicle to Honda dealerships for diagnosis (e.g.
                                                                   18   on October 11, 2011: “Having the same Having the same issue and dealer replaced the
                                                                   19   control unit couple of times under warranty couple of months back. Now dealer is giving
                                                                   20   up saying water leak coming from some where and asking to take it to body shop.
                                                                   21   Anyone know where is the exact leak for this issue? Looks like it more a design flaw
                                                                   22   and safety issue.”).
                                                                   23         85.    On February 4, 2022, a user posted to an Odyssey owner’s forum where
                                                                   24   they recounted their experience with the malfunctioning tailgate on their Class Vehicle
                                                                   25   which was opening on its own. The user relays that they had been to the Honda
                                                                   26
                                                                   27
                                                                        8
                                                                          https://www.odyclub.com/threads/2018-ex-l-nav-res-power-tailgate-problem-error.365335/
                                                                   28
                                                                        (last visited October 24, 2024).
                                                                                                              45
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                                                                    1   dealership twice regarding the issue. 9 Numerous users posted that the root cause was
                                                                    2   likely water intrusion into the tailgate control module, and a number of posters indicated
                                                                    3   that they had the same issue and reported it to Honda’s corporate customer service as
                                                                    4   well as Honda’s dealerships.
                                                                    5         86.    Despite Honda’s knowledge of the Sealant Defect, one owner of a Class
                                                                    6   Vehicle was quoted over $8,000 for the necessary repairs in January of 2024 by an
                                                                    7   authorized Honda dealership. 10 Other posts indicate similar quotes from authorized
                                                                    8   Honda dealerships.11
                                                                    9         87.    Reddit users have recounted similar issues and likewise notified Honda’s
                                                                   10   authorized dealerships regarding the issues. One poster had the issue occur and took it
                                                                   11   back to the Honda dealership, which “discovered that the roofline seam above the lift
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                                                                   12   rear window in front of the liftgate was leaking.” 12 Other posters in the same thread also
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                                                                   13   reported similar experiences with the Sealant Defect at Honda’s authorized dealerships.
                                                                   14   Additional Reddit posts were made regarding the Sealant Defect that similarly state the
                                                                   15   issue was diagnosed by Honda’s authorized dealerships. 13 Another thread from 3 years
                                                                   16
                                                                   17
                                                                   18   9
                                                                          https://www.odyclub.com/threads/power-tailgate-issue-2018-exl-safety-concern.367379/
                                                                   19   (last visited October 24, 2024).
                                                                        10
                                                                           https://www.odyclub.com/threads/over-8000-repair-bill-2018-honda-ex-l-for-power-
                                                                   20   tailgate-failure-and-other-issues-do-not-buy-a-2018-odyssey-i-now-hate-honda-for-
                                                                   21   life.376178/ (last visited October 24, 2024).
                                                                        11
                                                                           https://www.odyclub.com/threads/2018-power-tailgate-failure-dead-battery-from-body-
                                                                   22   leak.371746/page-2 (last visited October 24, 2024).
                                                                        12
                                                                   23
                                                                        https://www.reddit.com/r/HondaOdyssey/comments/19eeatk/water_leakerratic_electrical_issu
                                                                   24   es/ (last visited October 24, 2024).
                                                                        13
                                                                   25   https://www.reddit.com/r/AskMechanics/comments/1c6euqy/honda_odyssey_2018_rear_tailg
                                                                   26   ate_control_unit/ (last visited October 24, 2024);
                                                                        https://www.reddit.com/r/HondaOdyssey/comments/1bcy08w/2020_power_tailgate_failure/
                                                                   27   (last visited October 24, 2024);
                                                                        https://www.reddit.com/r/HondaOdyssey/comments/1bqxofu/water_intrusionagain/ (last
                                                                   28
                                                                        visited October 24, 2024).
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                                                                    1   ago states that the Honda dealership diagnosed the Sealant Defect as a “manufacturer
                                                                    2   issue” that the owner had to bring their Class Vehicle in for on two separate occasions. 14
                                                                    3                             CLASS ACTION ALLEGATIONS
                                                                    4         88.    Plaintiff brings this action on behalf of himself, and on behalf of the
                                                                    5   following nationwide class pursuant to Fed. R. Civ. P. 23(a), 23(b)(2), and/or 23(b)(3).
                                                                    6   Specifically, the nationwide class consists of the following:
                                                                    7         Nationwide Class:
                                                                              All persons or entities in the United States who are current or former owners
                                                                    8         and/or lessees of a Class Vehicle (the “Nationwide Class”).
                                                                    9         89.    In the alternative to the Nationwide Class, and pursuant to Fed. R. Civ. P.
                                                                   10   23(c)(5), Plaintiff seeks to represent the following state class:
                                                                   11         Florida Class:
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                                                                              All persons or entities in Florida who are current or former owners and/or lessees
                                                                   12         of a Class Vehicle (the “Florida Class”).
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                                                                   13
                                                                              90.    Excluded from the Classes are Defendants, their affiliates, employees,
                                                                   14
                                                                        officers and directors, persons or entities that purchased the Class Vehicles for resale,
                                                                   15
                                                                        and the Judge(s) assigned to this case. Plaintiff reserves the right to modify, change or
                                                                   16
                                                                        expand the Class definitions.
                                                                   17
                                                                              91.    Numerosity: Upon information and belief, the Classes are so numerous that
                                                                   18
                                                                        joinder of all members is impracticable. While the exact number and identities of
                                                                   19
                                                                        individual members of the Classes are unknown at this time, such information being in
                                                                   20
                                                                        the sole possession of Honda and obtainable by Plaintiff only through the discovery
                                                                   21
                                                                        process, Plaintiff believes that tens of thousands of Class Vehicles have been sold and
                                                                   22
                                                                        leased in Florida, and hundreds of thousand nationwide.
                                                                   23
                                                                              92.    Existence and Predominance of Common Questions of Fact and Law:
                                                                   24
                                                                        Common questions of law and fact exist as to all members of the Classes. These
                                                                   25
                                                                   26
                                                                   27
                                                                        14
                                                                          https://www.reddit.com/r/HondaOdyssey/comments/s90vqr/power_tailgate_issue/ (last
                                                                   28
                                                                        visited October 24, 2024).
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                                                                    1   questions predominate over the questions affecting individual Class members. These
                                                                    2   common legal and factual questions include, but are not limited to:
                                                                    3               a. whether the Class Vehicles suffer from the Sealant Defect;
                                                                    4               b. whether the defective sealant is common to all of the Class Vehicles;
                                                                    5               c. whether the Sealant Defect causes tailgate control module in the Class
                                                                    6                  Vehicles to fail;
                                                                    7               d. whether Defendants had a duty to disclose the Sealant Defect;
                                                                    8               e. whether Defendants knowingly failed to disclose the existence and cause
                                                                    9                  of the Sealant Defect in Class Vehicles;
                                                                   10               f. whether Defendants’ conduct violates the Florida Deceptive and Unfair
                                                                   11                  Trade Practices Act;
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                                                                   12               g. whether, as a result of Defendants’ omissions and/or misrepresentations of
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                                                                   13                  material facts related to the Sealant Defect, Plaintiff and members of the
                                                                   14                  Class have suffered ascertainable loss of monies and/or property and/or
                                                                   15                  value;
                                                                   16               h. whether, as a result of Defendants’ omissions and/or misrepresentations of
                                                                   17                  material facts related to the Sealant Defect, Plaintiff and members of the
                                                                   18                  Class have suffered an increased cost of maintenance related to the Class
                                                                   19                  Vehicles; and
                                                                   20               i. whether Plaintiff and Class members are entitled to monetary damages
                                                                   21                  and/or other remedies and, if so, the nature of any such relief.
                                                                   22         93.      Typicality: Plaintiff’s claims are typical of the claims of the Classes since
                                                                   23   Plaintiff purchased a Class Vehicle with the Sealant Defect, as did each member of the
                                                                   24   Class. Furthermore, Plaintiff and all members of the Classes sustained monetary and
                                                                   25   economic injuries including, but not limited to, ascertainable loss arising out of Honda’s
                                                                   26   wrongful conduct. Plaintiff is advancing the same claims and legal theories on behalf
                                                                   27   of himself and all absent Class members.
                                                                   28   ///

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                                                                    1         94.    Adequacy: Plaintiff is an adequate representative because his interests do
                                                                    2   not conflict with the interests of the Classes that he seeks to represent, he has retained
                                                                    3   counsel competent and highly experienced in complex class action litigation, and they
                                                                    4   intend to prosecute this action vigorously. The interests of the Classes will be fairly and
                                                                    5   adequately protected by Plaintiff and his counsel.
                                                                    6         95.    Superiority: A class action is superior to all other available means of fair
                                                                    7   and efficient adjudication of the claims of Plaintiff and members of the Classes. The
                                                                    8   injury suffered by each individual Class member is relatively small in comparison to
                                                                    9   the burden and expense of individual prosecution of the complex and extensive
                                                                   10   litigation necessitated by Honda’s conduct. It would be virtually impossible for
                                                                   11   members of the Classes to individually and effectively redress the wrongs done to them.
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                                                                   12   Even if the members of the Classes could afford such individual litigation, the court
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                                                                   13   system could not. Individualized litigation presents a potential for inconsistent or
                                                                   14   contradictory judgments. Individualized litigation also increases the delay and expense
                                                                   15   to all parties, and to the court system, presented by the complex legal and factual issues
                                                                   16   of the case. By contrast, the class action device presents far fewer management
                                                                   17   difficulties, and provides the benefits of single adjudication, economy of scale, and
                                                                   18   comprehensive supervision by a single court. Upon information and belief, members of
                                                                   19   the Classes can be readily identified and notified based on, inter alia, Honda’s vehicle
                                                                   20   identification numbers (VINs), warranty claims, registration records, and the database
                                                                   21   of complaints.
                                                                   22         96.    Injunctive Relief: Pursuant to Fed. R. Civ. P. 23(b)(2), Honda has acted or
                                                                   23   refused to act on grounds generally applicable to the Classes, thereby making
                                                                   24   appropriate final injunctive relief, corresponding declaratory relief, or final equitable
                                                                   25   relief with respect to the class as a whole.
                                                                   26
                                                                   27
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                                                                    1                                 VIOLATIONS ALLEGED
                                                                    2                                  COUNT I
                                                                            VIOLATION OF THE FLORIDA DECEPTIVE AND UNFAIR TRADE
                                                                    3                     PRACTICES ACT, (“FDUTPA”)
                                                                                            Fla. Stat. §§ 501.201, et seq.
                                                                    4                     (On Behalf of the Florida Class)
                                                                    5         97.    Plaintiff and the Florida Class incorporate by reference each preceding and
                                                                    6   succeeding paragraph as though fully set forth at length herein.
                                                                    7         98.    Plaintiff brings this claim on behalf of himself and on behalf of the Florida
                                                                    8   Class against Defendants.
                                                                    9         99.    The Florida Deceptive and Unfair Trade Practices Act (“FDUTPA”)
                                                                   10   prohibits “[u]nfair methods of competition, unconscionable acts or practices, and unfair
                                                                   11   or deceptive acts or practices in the conduct of any trade or commerce.” Fla. Stat. §
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                                                                   12   501.204(1). Defendants engaged in unfair and deceptive practices that violated the
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                                                                   13   FDUTPA as described above.
                                                                   14         100. Defendants engaged in “trade or commerce” in Florida within the meaning
                                                                   15   of the FDUTPA. See Fla. Stat. § 501.203(8).
                                                                   16         101. Defendants caused to be made or disseminated through Florida and the
                                                                   17   United States, through advertising, marketing and other publications, statements that
                                                                   18   were untrue or misleading, and which were known, or which by the exercise of
                                                                   19   reasonable care should have been known to Defendants, to be untrue and misleading to
                                                                   20   consumers, including Plaintiff and the other Florida Class Members and otherwise
                                                                   21   engaged in activities with a tendency or capacity to deceive.
                                                                   22         102. In violation of the FDUTPA, Defendants employed unfair and deceptive
                                                                   23   acts or practices, fraud, false pretense, misrepresentation, or concealment, suppression
                                                                   24   or omission of a material fact with intent that others rely upon such concealment,
                                                                   25   suppression or omission, in connection with the sale and/or lease of Class Vehicles.
                                                                   26   Defendants knowingly concealed, suppressed and omitted materials facts regarding the
                                                                   27   Sealant Defect and misrepresented the standard, quality, or grade of the Class Vehicles,
                                                                   28   which directly caused harm to Plaintiff and the Florida Class.

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                                                                    1         103. Defendants actively suppressed the fact that Class Vehicles contain the
                                                                    2   Sealant Defect and present a safety hazard because of materials, workmanship, design,
                                                                    3   and/or manufacturing defects. Further, Defendants employed unfair and deceptive trade
                                                                    4   practices by failing to provide repairs of the Sealant Defect or replacement of Class
                                                                    5   Vehicles due to the Defect within a reasonable time in violation of the FDUTPA.
                                                                    6   Defendants also breached their warranties as alleged above in violation of the FDUTPA.
                                                                    7         104. As alleged above, Defendants have known of the Sealant Defect contained
                                                                    8   in the Class Vehicles for years. Prior to selling and leasing the Class Vehicles,
                                                                    9   Defendants knew or should have known the Class Vehicles contained the Sealant Defect
                                                                   10   due to pre-production testing, quality control audits, and failure mode analysis.
                                                                   11   Defendants also should have known of the Defect from the complaints and service
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                                                                   12   requests they received from Class Members and dealers, from their own investigation,
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                                                                   13   and from repairs and/or replacements of the tailgate control module, and from other
                                                                   14   internal sources. Defendants, nevertheless, failed to disclose and actively concealed the
                                                                   15   dangers and risks posed by the Class Vehicles and the Defect.
                                                                   16         105. Defendants’ unfair and deceptive trade practices were likely intended to
                                                                   17   deceive a reasonable consumer. Plaintiff Dubrosky and members of the Florida Class
                                                                   18   had no reasonable way to know that the Class Vehicles contained the Sealant Defect
                                                                   19   were defective in workmanship and/or manufacture and posed a serious and significant
                                                                   20   safety risk. Defendants possessed superior knowledge as to the quality and
                                                                   21   characteristics of the Class Vehicles, including the Defect within their vehicles and its
                                                                   22   associated safety risks, and any reasonable consumer would have relied on Defendants’
                                                                   23   misrepresentations and omissions, as Plaintiff and members of the Florida Class did.
                                                                   24         106. Defendants intentionally and knowingly misrepresented material facts and
                                                                   25   omitted material facts regarding the Class Vehicles and the Defect present in Class
                                                                   26   Vehicles with an intent to mislead Plaintiff and the Florida Class.
                                                                   27         107. Defendants knew or should have known that their conduct violated the
                                                                   28   FDUTPA.

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                                                                    1         108. Defendants owed Plaintiff Dubrosky and the Florida Class a duty to
                                                                    2   disclose the true safety and reliability of the Class Vehicles and the existence of the
                                                                    3   Defect because Defendants, possessed exclusive knowledge of the Sealant Defect;
                                                                    4   intentionally concealed and omitted the foregoing from Plaintiff Dubrosky and the
                                                                    5   Florida Class, and made incomplete representations about the safety and reliability of
                                                                    6   the foregoing facts generally, while purposefully withholding material facts from
                                                                    7   Plaintiff and the Florida Class that contradicted these representations, inter alia, that a
                                                                    8   Sealant Defect existed at the time of sale or lease.
                                                                    9         109. Plaintiff and the other Florida Class Members have suffered an injury in
                                                                   10   fact, including the loss of money or property, as a result of Defendants’ unfair, unlawful,
                                                                   11   and/or deceptive practices. In purchasing or leasing their Class Vehicles, Plaintiff and
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                                                                   12   the other Florida Class Members relied on the misrepresentations and/or omissions of
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                                                                   13   Defendants with respect to the safety and reliability of the Class Vehicles. Defendants’
                                                                   14   representations were untrue because the Class Vehicles are distributed with defective
                                                                   15   body seam seals that can cause failure of the tailgate control module. Had Plaintiff and
                                                                   16   the other Florida Class Members known of the Sealant Defect, they would not have
                                                                   17   purchased or leased their Class Vehicles and/or paid as much for them. Accordingly,
                                                                   18   Plaintiff and the other Florida Class Members overpaid for their Class Vehicles and did
                                                                   19   not receive the benefit of their bargain.
                                                                   20         110. All of the wrongful conduct alleged herein occurred, and continues to
                                                                   21   occur, in the conduct of Defendants’ businesses. Defendants’ wrongful conduct is part
                                                                   22   of a pattern or generalized course of conduct that is still perpetuated and repeated, both
                                                                   23   in the state of Florida and nationwide.
                                                                   24         111. Plaintiff Dubrosky, individually and on behalf of the other Florida Class
                                                                   25   Members, request that this Court enter such orders or judgments as may be necessary
                                                                   26   to enjoin Defendants from continuing their unfair, unlawful, and/or deceptive
                                                                   27
                                                                   28
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                                                                    1   practices and to provide declaratory relief, attorneys’ fees, and any other just and
                                                                    2   proper relief available under the FDUTPA.
                                                                    3                                       COUNT II
                                                                                             BREACH OF EXPRESS WARRANTY
                                                                    4                  (On Behalf of the Nationwide Class and Florida Class)
                                                                    5         112. Plaintiff and the Classes incorporate by reference each preceding and
                                                                    6   succeeding paragraph as though fully set forth at length herein.
                                                                    7         113. Defendants expressly warranted that the Class Vehicles were of high
                                                                    8   quality and, at a minimum, would actually work properly. Honda also expressly
                                                                    9   warranted that it would repair and/or replace defects in material and/or workmanship
                                                                   10   free of charge that occurred during the New Vehicle Limited Warranty and certified
                                                                   11   pre-owned (“CPO”) warranty periods.
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                                                                   12         114. Defendants breached these warranties by selling to Plaintiff and Class
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                                                                   13   members the Class Vehicles with the Sealant Defect, which are not of high quality,
                                                                   14   and which fail prematurely and/or fail to function properly.
                                                                   15         115. As a result of the Defendants’ actions, Plaintiff and Class members have
                                                                   16   suffered economic damages including but not limited to costly repairs, loss of vehicle
                                                                   17   use, substantial loss in value and resale value of the vehicles, and other related
                                                                   18   damage.
                                                                   19         116. Defendants’ attempt to disclaim or limit these express warranties vis-à-
                                                                   20   vis consumers is unconscionable and unenforceable under the circumstances here.
                                                                   21   Specifically, Defendants’ warranty limitations are unenforceable because it knowingly
                                                                   22   sold a defective product without informing consumers about the manufacturing and/or
                                                                   23   material defect. Furthermore, Defendants continue to charge Class members for both
                                                                   24   replacing the tailgate control module and for repairing the defective body seam seal –
                                                                   25   if it repairs it at all – when in fact such repairs are actually necessitated because of
                                                                   26   Defendants’ defective product.
                                                                   27         117. The time limits contained in Defendants’ warranty periods were also
                                                                   28   unconscionable and inadequate to protect Plaintiff and members of the Class. Among

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                                                                    1   other things, Plaintiff and Class members had no meaningful choice in determining
                                                                    2   these time limitations, the terms of which unreasonably favored Defendants. A gross
                                                                    3   disparity in bargaining power existed between Honda and Class members, and Honda
                                                                    4   knew or should have known that the Class Vehicles were defective at the time of sale
                                                                    5   and would fail well before their useful lives.
                                                                    6         118. Plaintiff provided written notice of Honda’s breach of warranties, as well
                                                                    7   as the other claims asserted herein, on October 21, 2024.
                                                                    8         119. Plaintiff and the Class members have complied with all obligations under
                                                                    9   the warranties, or otherwise have been excused from performance of said obligations
                                                                   10   as a result of Defendants’ conduct described herein.
                                                                   11                                       COUNT III
                                                                                             BREACH OF IMPLIED WARRANTY
NYE, STIRLING, HALE, MILLER & SWEET




                                                                   12                (On Behalf of the Nationwide Class and Florida Subclass)
                               SANTA BARBARA, CALIFORNIA 93101
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                                                                   13         120. Plaintiff and the Class incorporate by reference each preceding and
                                                                   14   succeeding paragraph as though fully set forth at length herein.
                                                                   15         121. A warranty that the Class Vehicles were in merchantable condition is
                                                                   16   implied by law.
                                                                   17         122. These Class Vehicles, when sold and at all times thereafter, were not in
                                                                   18   merchantable condition and are not fit for the ordinary purpose for which cars are
                                                                   19   used. Specifically, the Class Vehicles are inherently defective in that there are defects
                                                                   20   in the Class Vehicles’ body seam seals, which are not of high quality, and which fail
                                                                   21   prematurely and/or fail to function properly.
                                                                   22         123. Honda was provided notice of these issues by numerous informal and
                                                                   23   formal complaints filed against them, including the instant Complaint, and by
                                                                   24   numerous individual letters and communications sent by Plaintiff and other Class
                                                                   25   members.
                                                                   26         124. As a direct and proximate result of Defendant’s breach of the warranties
                                                                   27   of merchantability, Plaintiff and the other Class members have been damaged in an
                                                                   28   amount to be proven at trial.

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                                                                    1                                       COUNT IV
                                                                                                    COMMON LAW FRAUD
                                                                    2                (On Behalf of the Nationwide Class and Florida Subclass)
                                                                    3         125. Plaintiff and the Class incorporate by reference each preceding and
                                                                    4   succeeding paragraph as though fully set forth at length herein.
                                                                    5         126. Defendants made material omissions concerning a presently existing or
                                                                    6   past fact. For example, Defendants did not fully and truthfully disclose to its
                                                                    7   customers the defective nature of the Class Vehicles’ body seam seals, which was not
                                                                    8   readily discoverable until after the Vehicles were purchased. As a result, Plaintiff and
                                                                    9   the other Class members were fraudulently induced to lease and/or purchase the Class
                                                                   10   Vehicles with the said Sealant Defect and all of the resultant problems.
                                                                   11         127. These omissions were made by Honda with knowledge of their falsity,
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                                                                   12   and with the intent that Plaintiff and Class members rely upon them.
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                                                                   13         128. Plaintiff and Class members reasonably relied on these omissions, and
                                                                   14   suffered damages as a result.
                                                                   15                                 COUNT V
                                                                              BREACH OF THE DUTY OF GOOD FAITH AND FAIR DEALING
                                                                   16                     (On Behalf of the Florida Subclass)
                                                                   17         129. Plaintiff and the Class incorporate by reference each preceding and
                                                                   18   succeeding paragraph as though fully set forth at length herein.
                                                                   19         130. Every contract in Florida contain an implied covenant of good faith and
                                                                   20   fair dealing. The implied covenant of good faith and fair dealing is an independent
                                                                   21   duty and may be breached even if there is no breach of a contract's express terms.
                                                                   22         131. Defendants breached the covenant of good faith and fair dealing through
                                                                   23   malicious conduct by, inter alia, failing to notify Plaintiff and the Class members of
                                                                   24   the Sealant Defect in the Class Vehicles, and failing to fully and properly repair this
                                                                   25   defect.
                                                                   26         132. Defendants acted in bad faith and/or with a malicious motive to deny
                                                                   27   Plaintiff and Class members some benefit of the bargain originally intended by the
                                                                   28   parties, thereby causing them injuries in an amount to be determined at trial.

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                                                                    1                                      COUNT VI
                                                                                                     UNJUST ENRICHMENT
                                                                    2              (On Behalf of the Nationwide Class and the Florida Subclass)
                                                                    3         133. Plaintiff and the Class incorporate by reference each preceding and
                                                                    4   succeeding paragraph as though fully set forth at length herein. This count is pled in
                                                                    5   the alternative to the contract-based claims.
                                                                    6         134. Plaintiff and the members of the Class conferred a benefit on Defendants.
                                                                    7         135. Defendants had knowledge that this benefit was conferred upon them.
                                                                    8         136. Defendants have been and continue to be unjustly enriched at the expense
                                                                    9   of Plaintiff, and their retention of this benefit under the circumstances would be
                                                                   10   inequitable.
                                                                   11                                    PRAYER FOR RELIEF
NYE, STIRLING, HALE, MILLER & SWEET




                                                                   12         WHEREFORE, Plaintiff, on behalf of himself and members of the Classes,
                               SANTA BARBARA, CALIFORNIA 93101
                               33 WEST MISSION STREET, SUITE 201




                                                                   13   respectfully requests that this Court:
                                                                   14         A.            determine that the claims alleged herein may be maintained as a
                                                                   15                       class action under Rule 23 of the Federal Rules of Civil Procedure,
                                                                   16                       and issue an order certifying the Classes as defined above;
                                                                   17         B.            appoint Plaintiff as the representative of the Class and his counsel
                                                                   18                       as Class counsel;
                                                                   19         C.            award all actual, general, special, incidental, statutory, punitive,
                                                                   20                       and consequential damages to which Plaintiff and Class members
                                                                   21                       are entitled;
                                                                   22         D.            award pre-judgment and post-judgment interest on such monetary
                                                                   23                       relief;
                                                                   24         E.            grant appropriate injunctive and/or declaratory relief, including,
                                                                   25                       without limitation, an order that requires Honda to repair, recall,
                                                                   26                       and/or replace the Class Vehicles and to extend the applicable
                                                                   27                       warranties to a reasonable period of time, or, at a minimum, to
                                                                   28                       provide Plaintiff and Class members with appropriate curative

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                                                                    1                    notice regarding the existence and cause of the manufacturing
                                                                    2                    defect;
                                                                    3        F.          award reasonable attorney’s fees and costs; and
                                                                    4        G.          grant such further relief that this Court deems appropriate.
                                                                    5
                                                                    6   Dated: October 24, 2024       NYE, STIRLING, HALE, MILLER & SWEET, LLP
                                                                    7                                 By: /s/ Alison M. Bernal
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                                                                   17                                      Attorneys for Plaintiff and the putative classes
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                                                                    1                             DEMAND FOR JURY TRIAL
                                                                    2        Plaintiff hereby demands a jury trial for all claims so triable.
                                                                    3
                                                                    4   Dated: October 24, 2024        NYE, STIRLING, HALE, MILLER & SWEET, LLP
                                                                    5                                  By: /s/ Alison M. Bernal
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